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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS DOCKETED
EASTERN DIVISION
SEP 23 2002

PAMELA BRAY
Plaintiff,

Vv, Civil No. 01 C7770

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JUDGE HOLDERMAN

THE CITY OF CHICAGO, a municipal
Corporation

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Defendant.

PLAINTIFF'S LR 56.1(b) COUNTER-STATEMENT
OF MATERIAL FACTS AS TO WHICH THERE IS NO GENUINE IS

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JURISDICTION

1. Plaintiff's complaint is brought under Title VII of the Civil Rights Act of
1991, 42 U.S.C. §2000e-2(a)(1) and §2000e-3(a). (P! LR56.1(b) Ex. 11 Complaint; Ex.
12 Answer) Jurisdiction is invoked under 28 U.S.C. §1343(d). (PI LR56.1(b) Ex. 11

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Complaint; Ex. 12 Answer)

2. Defendant is an employer within the meaning of the Act and doing business
within this judicial district, in the city of Chicago (Cook County) IHinois. (P1 LR56.1(b)
Ex. 11 Complaint p. 1; Ex. 12 Answer) The defendant is an “employer” within the

meaning of 29 U.S.C, 203 (a) and (d). (PI LR56.1(b) Ex. 11 Complaint; Ex. 12 Answer,

Ex. 19 EEOC Determination)
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THE PARTIES AND WITNESSES
3. The Plaintiff, Pamela Bray (“Bray”), was a single 31 year-old mother of five
residing in Chicago, Illinois during the relevant time period. (Pl LR56.1(b) Ex. 13 Bray’s

Answers to Ints p. 2; Ex. 1 Bray dep. p. 473; Ex. 51 Employee Profile)

4. Bray was hired as a Probationary Police Officer for the City of Chicago in the
7 District on or about October 25, 1999. (PI LR56.1(b) Ex. 1 Bray dep. p. 175; Ex. 11

Complaint p. 2; Ex. 25 Def’s Position Statement; Ex. 51 Employee Profile)

5. The Defendant, the City of Chicago, is a municipal corporation. (Pl

LR456.1(0) Ex. 11 Complaint; Ex. 12 Answer)

6. Bruce Askew (“Askew”) is a 47 year-old married man, (P! LR56.1(b) Ex.

Askew dep. p. 4-5)
7. Askew was employed as a police officer for the City of Chicago in the 7°
District during the relevant time period and is an accused sexual harasser. (P1 LR56.1(b)

Ex. 1 Bray dep. p. 64; Ex. 2 Askew dep. p. 7-8; Ex. 13 Bray’s Answers to Ints p. 3)

8. Donna Adams (“Adams”) is a single female. (P1 LR56.1(b) Ex. 3 Adams dep.

p. 7)

 

 
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9. Adams was employed by the City of Chicago as a police officer in the 7
District during the relevant time period and is also an accused sexual harasser. (Pl
LR56.1(b) Ex. 1 Bray dep. p. 64; Ex. 3 Adams dep. p. 13; Ex. 13 Bray’s Answers to Ints

p. 8)

BACKGROUND & SUMMARY OF CASE

10. _—- After an individual enters the Police Academy they are on probation for a

period of one year. (P] LR56.1(b) Ex. 2 Askew dep. p. 10-11; Ex. 25 Def’s Position

Statement p. 2)

11, During this one year period, they remain under the Police Academy’s
jurisdiction and are considered “Probationary Police Officers” or “PPO’s.” (PI

LRS6.1(6) Ex. 2 Askew dep. p. 10)

_ 12. Bray became a PPO on October 25, 1999. (Pt LR56.1(b) Ex. 1 Bray dep.

p. 175; Ex. Complaint p. 2; Ex. 15 Bray’s notes p. 000104; Ex. 25 Def’s Position

 

Statement p. 2; Ex. 51 Employee Profile)

13. Bray attended classes at the Police Academy from on or about October 25,

1999 to the end of March 2000. (P! LR56.1(b) Ex. 25 Def’s Position Statement p. 2)

14. _ Bray was then assigned to District 7, commonly known as Englewood, for

field training. (P] LR56.1(b) Ex. | Bray dep. p. 227)

 
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15. | Englewood is known as a high crime area and has the nickname “Home of
Homicide.” (Pl LR56.1(b) Ex. 1 Bray dep. p. 227-228; Ex. 2 Askew dep. p. 32-33, 65;

Ex. 3 Adams dep, p. 41)

16. At the end of March 2000, Bray began her field training. (Pl LR56.1(b)

Ex. 25 Def’s Position Statement p. 2)

17. A PPO is required to have a veteran officer with them who will grade their
performance as they typically move through three cycles of training. (Pi! LR56.1(b) Ex. 2
Askew dep. p. 10) Each cycle lasts approximately 28-30 days, (P1 LR56.1(b) Ex. 1 Bray

dep. p. 230; Ex. 2 Askew dep. p. 11; Ex. 25 Def’s Position Statement p. 2)

18. During the training cycles, PPO’s are taught proper patrol procedures,
such as how to make arrests, how to interview and how to communicate with citizens.

(P1 LR56.1(b) Ex. 1 Bray dep. p, 229)

19. Many PPO’s are shy when they first start. (P! LR56.1(b) Ex. 1 Askew

dep. p. 29)

20. ‘It is common for PPO’s right out of the Police Academy to lack
confidence in their ability to perform as a police officer. (P1 LR56.1(b) Ex. 2 Askew dep.

p. 163) It is the job of the veteran police officer to bring them out slowly. (P1 LR56.1(b)

Ex. 2 Askew dep. p. 29)

 
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21. When their training cycles are completed and they are “Field Qualified”,
the PPO’s will work with veteran officers but are no longer graded. (P! LR56.1(b) Ex. 2

Askew dep. p. 10-11)

22, +‘ Being “Field Qualified” means the individual has the ability to be a basic
police officer — they can work on the streets alone as a police officer. (P1 LR56.1(b) Ex.
2 Askew dep. p. 60; Ex. 3 Adams dep. p. 55) They can write a report, issue a ticket and

make an arrest. (PI LR56.1(b) Ex. 2 Askew dep. p. 60)

23. Bray was “Field Qualified” on or about July 24, 2000. (Pl LR56.1(b) Ex.
1 Bray dep. p. 340, 563; Ex. 2 Askew dep. p. 54, 56; Ex. 3 Adams dep. p. 55; Ex. 42

Remedial Summary Report; Ex. 14 Def’s Answers to Ints p. 15}

24. —_ Bruce Askew, one of Bray’s Field Training Officers, sexually harassed
Bray on numerous occasions from on or about May 2000 through the duration of her
employment to on or about October 2000 (P! LR56.1(b) Ex. 13 Bray’s Answers to Ints p.

3; Ex. 19 EEOC Determination)

25. Donna Adams, another one of Bray’s Field Training Officers, sexually
harassed Bray from on or about July 2000 through August 2000, (PI LR56.1(b) Ex. 1

Bray dep. p. 91, 321-322; Ex. 13 Bray’s Answers to Ints p. 8; Ex. 19 EEOC

Determination)

 
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26. Onor about October 4, 2000, Bray finally had enough of Askew’s sexual
harassment and threatened to report Askew to his supervisor if he touched her again. (Pl

LR56.1(b) Ex. 1 Bray dep. p. 87-90, 436; Ex. 13 Bray’s Answers to Ints p. 8)

27. —‘Inretaliation, Askew contacted the Police Academy and requested that
they evaluate Bray’s performance and recommended to the Review Board that they
terminate her employment. (P1 LR56.1(b) Ex. 1 Bray dep. p. 80; Ex. 2 Askew dep. p. 72-

73; Ex. 3 Adams dep. p. 80-82; Ex. 27 Askew’s letter)

28. Askew along with Adams presented the Review Board with inaccurate and
malicious “rumors” they allegedly heard from unidentified individuals about Bray’s
performance in an effort to secure her termination. (PI LR56.1(b) Ex. 1 Bray dep. p. 80,
347-348, 350-351, 353, 569-571; Ex. 2 Askew dep. p. 72-73; Ex. 3 Adams dep. p. 80-82;

Ex. 27 Askew’s letter, Ex. 47 Review Board Decision)

29. _—_ Less than two weeks after she threatened to report Askew, on or about
October 23, 2000, Bray was notified of her termination effective October 24, 2000. (PI

; LR56.1(b) Ex. 1 Bray dep. p. 214; Ex. 25 Def’s Position Statement p. 2)

30. Bray’s one year probationary period would have ended October 25, 2000,
just one day after her termination was effective. (P! LR56.1(b) Ex. 1 Bray dep. p. 398,
414, 422, 577; Ex. 2 Askew dep. p. 10-11; Ex. 16 Termination Letter; Ex. 51 Employee

Profile)

 

 
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31. | Onor about October 30, 2000, Bray filed a Charge of Discrimination with
the Equal Employment Opportunity Commission. (Pi LR56.1(b) Ex. 17 Charge of

Discrimination)

32. | Onor about March 21, 2001, the Equal Employment Opportunity
Commission issued a Determination that there was reasonable cause to believe that Bray
was sexually harassed by her Field Training Officers in violation of Title VII and that
there was reasonable cause to believe that the City of Chicago retaliated against her by

discharging her. (P! LR56.1(b) Ex. 19 EEOC Determination)

FIELD TRAINING OFFICERS ARE SUPERVISORS
33. Asher Field Training Officers, Askew and Adams were Bray’s
supervisors. (PI LR56.1(b) Ex. 1 Bray dep. p. 72, 74, 77; Ex. 6 Crawley dep. p. 28; Ex.

23 EEOC notes)

34. It was always Bray’s understanding that Field Training Officers could
discipline and terminate probationary police officers. (PI LR56. 1(b) Ex. 1 Bray dep. p.

583)

35, Askew in particular made it clear to Bray at the time she started training
with him on her second cycle that he was her supervisor and had control over her

employment. (PI LR56.1(b) Ex. 1 Bray dep. p. 72, 77; Ex. 4 Jones dep. p. 16)

 
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36. _—_In fact, Officer Gloria Jones, an officer with the City of Chicago since
1990, testified at her deposition that Bray complained to her that Askew and Adams were

“always threatening her job.” (P1 LR56.1(b) Ex. 4 Jones dep. 6, 23-24)

37. Jones further testified at her deposition that Bray told her she was “scared”
to report the sexual harassment by Askew and Adams because, “They were always telling
her, you know, ‘I have got your job in my hand. I can fire you just like that. It only takes

... apen.” (PI LR56.1(b) Ex. 4 Jones dep. p. 26, 36)

38. Jones also testified that on or about June or July 2000, she confirmed to
Bray that Askew and Adams did have power over her employment. (Pl LR56.1(b) Ex. 4

Jones dep. p. 7-8, 16, 48-49, 53)

39. Jones, who was a police officer with the City of Chicago for 10 years at
the time, advised Bray to “keep a record of everything, dates and times. . . because you
are still on probation and pretty much [Askew and Adams] can get you fired at any time.”

(Pi LR56.1(b) Ex. 4 Jones dep. p. 6, 16)

40. | Askew and Adams, as Bray’s Field Training Officers, had control of
Bray’s job because their evaluations would determine whether or not she would keep her

job. (P1 LR56,1(b) Ex. 1 Bray dep. p. 72, 77; Ex. 6 Crawley dep. p. 28)

 
 

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41. _ In fact, at his deposition Askew confirmed he had this power over Bray’s
employment when he testified that he gave Bray scores of “4” on her evaluations because

“getting twos in her second cycle would have gotten her terminated.” (Pl LR56.1(b) Ex.

Askew dep. p. 90)

42. Further, Eileen Bell, Assistant Corporation Counsel for the City of
Chicago, on or about December 13, 2000, agreed with investigator Batog of the EEOC
during his investigation into Bray’s Charge that Field Training Officers are in supervisory

positions over Probationary Police Officers. (P1 LR56.1(b) Ex. 23 EEOC notes)

43. In his report summarizing his conversation with Bell, Batog writes, in

part:

Bell and I discussed whether FTO’s are in supervisory positions. Bell and
1 agreed that FTO’s are in supervisory positions because of they evaluate
PPO’s and make recommendations on whether PPO’s become PO’s. (PI
LR56. 1(b) Ex. 23 EEOC notes)

 
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BRUCE ASKEW

44. _ Bruce Askew was Bray’s Field Training Officer during her second
training cycle from on or about late April to mid-May 2000, (PI LR56.1(b) Ex. 13 Bray’s
Answers to Ints p. 3; Ex. 2 Askew dep. p. 12, 17, 25, 108; Ex. 1 Bray dep. p. 266; Ex. 35

Daily Observation Reports) _

45. Prior to Bray, Askew had only trained three to five Probationary Police
Officers. (PI LR56.1(b) Ex. 2 Askew dep. p. 14)

46, | Askew sexually harassed Bray on numerous occasions beginning on or
about May 2000 through the duration of her employment to on or about October 2000 (PI
LRS5S6.1(b) Ex. 13 Bray’s Answers to Ints p. 3; Ex. 11 Complaint; Ex. 17 Charge of

Discrimination; Ex. 19 EEOC Determination)

47. _—_ Jones testified at her deposition that every time she worked with Bray
from on or about June 2000 to the time Bray was terminated, Bray complained to her
about Askew’s and Adam’s sexually offensive comments and behavior but was too afraid

to report it to anyone else. (P1 LR56.1(b) Ex. 4 Jones dep. p. 11-12, 15-19, 23-26, 53)
48. Ona daily basis, Askew would make lewd, sexually offensive comments

to Bray about women they would see while working together. (P1 LR56.1(b) Ex. 1 Bray

dep. p. 441-442; Ex. 13 Bray’s Answers to Ints p. 4; Ex. 15 Bray’s Notes p. 000107)

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49. Askew would say such things as, “look at the tits on that broad,” or “look
at the ass on that woman”. (Pl LR56.1(b) Ex. 1 Bray dep. p. 441-442; Ex. 13 Bray’s

Answers to Ints p. 4; Ex. 15 Bray’s Notes p. 000107)

50. At his deposition, Askew admitted that he “probably” made such sexually
offensive comments and displayed the extent of his bravado by adding that he probably

remarked, “nice rack” as well. (P] LR56.1(b) Ex. 2 Askew dep. p. 111-112)

51. Askew also admitted that while he was Bray’s Field Training Officer, he
and Bray would park outside the Taste Nightclub at 4:00 o’clock in the morning on
Saturday nights where there are “a lot of scantily clad women” and he would “sit there

and just kind of ogle.” (P! LRS6.1(b) Ex. 2 Askew dep. p. 112)

52. Askew testified that when he ogied at the women, Bray would make
comments like, “you ought to quit,” or “you already have a girlfriend. What do you need

with them?” (Pl LR56.1(b) Ex. 2 Askew dep. p. 113)

53. | Onseveral occasions, while Bray was in the presence of a group of
officers, Askew yelled comments to them about Bray’s fertility such as, “you better get
away from Bray because she’s very fertile. If you get near her, she’ll get pregnant,” or
“if you look at [Bray], she'll get pregnant.” (Pi LR56.1(b) Ex. 1 Bray dep. p. 70, 270,

275, 473; Ex, 2 Askew dep. p. 119, 121; Ex. 5 Spurgeon dep. p. 24-25; Ex. 7 Johnson

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dep. p. 65; Ex. 13 Bray’s Answers to Ints p. 5; Ex. 15 Bray’s Notes p. 000106; Ex. 18

EEOC Questionnaire)

54. He also commented to Bray that, “I got to get away from you, because if I

bump you, you just might get pregnant.” (PI LR56.1(b) Ex. 1 Bray dep. p. 70)

55. Askew also made a comment to Bray in August 2000 that she was the “old
lady in the shoe, who had so many children she didn’t know what to do.” (Pl LR56.1(b)

Ex. 2 Askew dep. p. 121; Ex. 15 Bray’s Notes p. 000107, 000114)

56. On another occasion, in July or August 2000, after the 8 a.m. roll-call,
Askew told Bray, “you wouldn’t have so many children if you swallowed.” (Pl
LR56.1(b) Ex. | Bray dep. p. 54; Ex. 7 Johnson dep. p. 64-65; Ex. 13 Bray’s Answers to
Ints p. 5; Ex. 15 Bray’s Notes p, 000114; Ex. 18 EEOC Questionnaire) Bray understood
his comment to mean that she should have engaged in fellatio instead of intercourse to

avoid having so many children. (P1 LR56.1(b) Ex. 13 Bray’s Answers to Ints p. 5)

57. Bray responded by telling Askew, “you have a disgusting mouth.” (Pl
LR56.1(b) Ex. 13 Bray’s Answers to Ints p. 5)

58. Each time Askew made a derogatory comment about her fertility, Bray felt
awkward, uncomfortable, humiliated, embarrassed, and degraded. (P1 LR56.1(b) Ex. 1

Bray dep. p. 71, 271; Ex. 13 Bray’s Answers to Ints p. 5)

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59. | However, she did not say anything because she feared losing her job. (Pl
LR56.1(b) Ex. 1 Bray dep. p. 71; Ex. 4 Jones dep. p. 26; Ex. 13 Bray’s Answers to Ints p.

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60.  Athis deposition, Askew admitted making comments about Bray’s

fertility. (P1 LR56.1(b) Ex. 2 Askew dep. p. 119, 121)

61. Askew’s sexually offensive conduct and comments caused Bray stress at
work and damaged her self-esteem and self-confidence. (P! LR56.1(b) Ex. 1 Bray dep. p.

275, 287, 473)

62. Almost every day that Bray worked with Askew, they would pick up
Askew’s mistress and drive her to her place of employment. (P] LR56.1(b) Ex. 1 Bray
dep. p. 104-105; Ex. 2 Askew dep. p. 110-111; Ex. 13 Bray’s Answers to Ints p. 4; Ex. 15

Bray’s Notes p. 000107)

63. Additionally, approximately twice an evening when they were on duty,
Askew would visit his girlfriend and leave Bray in the squad car for ten to thirty minutes
at atime. (Pl LR56.1(b) Ex. 4 Jones dep. p. 23; Ex. 13 Bray’s Answers to Ints p. 4; Ex.

15 Bray’s Notes p, 000107) |

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64, During an approximate two-week period on or about May 2000, Bray
witnessed Askew repeatedly put notes on a car owned by a female civilian, LaTonya
McCloud. (PI LR56.1(b) Ex. 2 Askew dep. p. 125-126; Ex. 13 Bray’s Answers to Ints p.

5; Ex. 15 Bray’s Notes p. 000107)

65. Bray then heard Askew threaten to ticket McCloud if she refused to go on
a date with him. (P! LR56.1(b) Ex. 13 Bray’s Answers to Ints p. 5} McCloud confided in

Bray that Askew frightened her, (Pl LR56.1(b) Ex. 13 Bray’s Answers to Ints p. 5)

66. On one occasion after midnight on or about May 2000, Askew brought
Bray to a viaduct in a secluded area while they were on-duty. (PI LR56.1(b) Ex. 1 Bray

dep. p. 65-67; Ex. Bray’s Answers to Ints p. 3; Ex. 15 Bray’s notes p. 000106)

67. Askew parked the car and turned it off. (Pl LR56.1(b) Ex. 1 Bray dep. p.
67) He then told Bray that when he was a teenager he used to have sex under the viaduct.
(Pl LR56.1(b) Ex. | Bray dep. p. 65; Ex. 13 Bray’s Answers to Ints p, 3; Ex. 15 Bray’s

Notes p. 000106)

68. Askew also informed Bray that police officers came to the viaduct while
they were on duty to have sex. (P1 LR56,1(b) Ex. 1 Bray dep. p. 65; Ex. 13 Bray’s

Answers to Ints p. 3; Ex. 15 Bray’s Notes 000106)

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69. _ Askew then stated to Bray that she might end up back there. (Pi

LR56.1(b) Ex. 1 Bray dep. p. 65; Ex. 13 Bray’s Answers to Ints p. 3)

70. __ Bray responded that she did not “do things like that.” (PI LR56.1(b) Ex. 1

Bray dep. p. 68; Ex, 13 Bray’s Answers to Ints p, 3-4)

71. Bray was very embarrassed by Askew’s comment. (P1 LR56.1(b) Ex. 1

Bray dep. p. 65; Ex. 13 Bray’s Answers to Ints p. 4)

72. On another occasion, Askew drove Bray to 74" and Damen, another
secluded area near the railroad tracks and a factory. (P! LR56.1(b) Ex. 1 Bray dep. p. 68-

69)

73. Askew then proceeded to tell Bray about an incident in which two
sergeants were caught in the area performing oral sex. (PI LR56.1(b) Ex. 1 Bray dep. p.

69)

74. Askew explained to Bray that they joked in the district about whether the

sergeant liked his lunch. (P1 LR56.1(b) Ex. 1 Bray dep. p. 69)
75. Bray did not say anything, but just shook her head, (PI LR67.1(b) Ex. 1

Bray dep. p. 69, 71) Bray felt humiliated and degraded by Askew’s comments. (Pl

LR56.1(b) Ex. 1 Bray dep. p. 71; Ex. 13 Bray’s Answers to Ints p. 4)

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76. However, Bray feared that Askew would retaliate against her and cause
her to lose her job if she did or said anything. (P1 LR56.1(b) Ex. 1 Bray dep. p. 71; Ex. 4

Jones dep. p. 26; Ex. 13 Bray’s Answers to Ints p. 4)

77. On or about June 2000, Askew began sending messages to Bray over the
“PDT,” Personal Data Computer, asking her out on dates. (P! LR56.1(b) Ex. 1 Bray dep.
p. 78, 584-585; Ex. 13 Bray’s Answers to Ints p. 6; Ex. 15 Bray’s Notes p. 000108,

000114; Ex. 18 EEOC Questionnaire)

78. The Personal Data Computer is located in the patrol car and is able to
receive messages and calls. (P1 LR56.1(b) Ex, 1 Bray dep. p. 78, 584-585) These
messages are not kept on the computer, but simply flashed across the screen. (Pl

LR56.1(b) Ex. 1 Bray dep. p. 79)

79. | Askew’s messages asked Bray to bring her children to the movie theater
where he worked a second job. (Pl LR56.1(b) Ex. ! Bray dep. p. 78; Ex. 13 Bray’s
Answers to Ints p. 6; Ex. 15 Bray’s Notes p. 000108, 000114) He promised he would
treat them to hot dogs, soda, and popcorn if she did. (Pl LR56.1(b) Ex. 1 Bray dep. p. 78-

79; Ex. 13 Bray’s Answers to Ints p. 6; Ex. 15 Bray’s Notes p. 000108, 000114)

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80.  Atthe same time Askew would ask Bray out to the movie theater, he
would remind her how many days she had left before her probationary period was over.

(PI LRS6.1(b) Ex. 15 Bray’s Notes p. 000108)

81. Askew asked Bray out on approximately 10 separate occasions. (Pl

LR56.1(b) Ex. 1 Bray dep. p. 80) Bray refused every offer. (P! LR56.1(b) Ex. 1 Bray

. dep. p. 79; Ex. 13 Bray’s Answers to Ints p. 6)

82. Even after she repeatedly refused his advances, Askew would continue to

ask her out. (PI LR56.1(b) Ex. 1 Bray dep. 80)

83. | Askew’s messages on the PDT made Bray feel uncomfortable and

embarrassed. (Pl LR56.1(b) Ex. 1 Bray dep. p. 585)

84. After Bray’s second training cycle ended, Askew began to physically
sexually harass her. (P! LR56.1(b) Ex. 1 Bray dep. p. 80-83; Ex. 13 Bray’s Answers to

Ints p. 6)
85. On two separate occasions on or about August or September 2000, Askew

approached Bray and asked her if she had her bulletproof vest on. (P1 LR56.1(b) Ex. 1

Bray dep. p. 82; Ex. 13 Bray’s Answers to Ints p. 6; Ex. 15 Bray’s Notes p. 000110)

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86. Before Bray could answer, Askew grabbed her breasts. (P! LR56.1(b) Ex.
I Bray dep. p. 81-83, 140; Ex. 13 Bray’s Answers to Ints p. 6; Ex. 15 Bray’s Notes p.

000110; Ex. 18 EEOC Questionnaire)

87. Bray was “shocked,” “disgusted,” “extremely horrified and humiliated” by
Askew’s actions and immediately instructed him to stop. (PI LR56.1(b) Ex. 1 Bray dep.

p. 83, 141; Ex. 13 Bray’s Answers to Ints p. 6)

88. Askew responded by laughing at her. (PI LR56.1(b) Ex. 1 Bray dep. p. 83)

89. —_ It is neither a normal procedure nor a requirement for supervisors to check

for bulletproof vests. (Pl LR56.1(b) Ex. 1 Bray dep. p. 84)

90. No one had previously touched Bray during a uniform inspection. (PI

LRS56.1(b) Ex. 1 Bray dep. 84)

91. Moreover, Bray’s bulletproof vest was visible when she wore it. (Pl

LR56.1(b) Ex. 1 Bray dep, 138)

92. On or about September 19, 2000, Bray was required to appear at the Cook
County District Court at 26" and California to testify as a witness to a felony. (Pi
LR56.1(b) Ex. 1 Bray dep. p. 93; Ex. 13 Bray’s Answers to Ints p. 6; Ex. 15 Bray’s Notes

p. 000109)

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93. Bray was not familiar with the standard procedures in testifying, so she
asked Askew to accompany her to the courtroom since he was her Field Training Officer
at the time of the incident. (PI! LR56.1(b) Ex. 1 Bray dep. p. 93, 102; Ex. 2 Askew dep. p.

135; Ex. 13 Bray’s Answers to Ints p. 6-7; Ex. 15 Bray’s Notes p. 000109)

94. While court was in session, Askew grabbed Bray’s leg and rubbed her
ankle. (P1 LR56.1(b) Ex. 1 Bray dep. p. 94-95, 144-145; Ex. 13 Bray’s Answers to Ints

p. 7; Ex. 15 Bray’s Notes p. 000109)

95. Bray quickly pulled her leg away from Askew and whispered for him to

stop. (Pi LR56.1(b) Ex. 1 Bray dep. p. 94-95; Ex. 13 Bray’s Answers to Ints p. 7)

96. Askew then “got an instant attitude” and abruptly left the courtroom while
court was in session. (Pl! LR56.1(b) Ex. 1 Bray dep. p. 97, 145; Ex. 13 Bray’s Answers

to Ints p. 7)
97. Bray was left alone without knowing the proper procedures. (Pl

LR56.1(b) Ex. 1 Bray dep. p. 88-90; Ex. 13 Bray’s Answers to Ints p. 7) Consequently,

court had to be continued. (PI LR56,1(b) Ex. 1 Bray dep. p. 97-98)

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98. Askew returned to the courtroom approximately 30 minutes later. (PI
LR56.1(b) Ex. 1 Bray dep. p. 98; Ex. 13 Bray’s Answers to Ints p. 7) Bray and Askew
then left together. (P1 LR56.1(b) Ex. 1 Bray dep, p. 98) While riding down in the
elevator, Askew asked Bray, “What is your waist size, a 22 or 237” (PL LR56.1(b) Ex. 1

Bray dep. p. 98; Ex. 13 Bray’s Answers to Ints p. 7)

99. Bray responded, “none of your business.” (Pt LR56.1(b) Ex. 1 Bray dep.

p. 99; Ex. 13 Bray’s Answers to Ints p. 7)

100, When they exited the building through the revolving doors, Askew
jumped in the partition with Bray, grabbed her waist and gave her a bear hug. (Pl
LR56.1(b) Ex. 1 Bray dep. p. 99; Ex. 13 Bray’s Answers to Ints p. 7; Ex. 15 Bray’s Notes

p. 000109)
101. Askew pressed Bray up against the window of the partition and pushed his
body against hers so hard that she could feel his penis on her buttocks. (P1 LR56.1(b) Ex.

1 Bray dep. p. 99-101, 147; Ex. 13 Bray’s Answers to Ints p. 7)

102. When Askew pressed up against her, she could feel that his penis was

hard. (PI LR56.1(b) Ex. 1 Bray dep. p. 148; Ex. 13 Bray’s Answers to Ints p. 7)

103. Bray felt humitiated and very embarrassed by Askew’s conduct. (Pl

LR56.1(b) Ex. 1 Bray dep. p. 148; Ex. 13 Bray’s Answers to Ints p. 7)

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104, As they exited the revolving doors, Bray told Askew to stop. (Pl

LR56.1(b) Ex. 1 Bray dep. p. 101)

105. Askew then asked Bray if she had a boyfriend. (P! LR56.1(b) Ex. 1 Bray
dep. p. 102; Ex. 13 Bray’s Answers to Ints p. 7; Ex. 15 Bray’s Notes p. 000109) Bray
responded “no” and that she was not interested in a relationship. (P1 LR56.1(b) Ex. 1

Bray dep. p. 102; Ex. 13 Bray’s Answers to Ints p. 7; Ex. 15 Bray’s Notes p. 000109),

106. Askew commented that, “You are too young to be thinking like that. You

should go out and just fuck everybody.” (P1 LR5.1(b) Ex. 13 Bray’s Answers to Ints p. 7;

Ex. 15 Bray’s Notes p. 000109)

107. Bray got in the car and did not respond. (Pl LR56.1(b) Ex. 13 Bray’s

Answers to Ints p. 7)

108. Once again Bray felt uncomfortable and embarrassed by Askew’s

comments. (Pl LR56.1(b) Ex. 13 Bray’s Answers to Ints p. 7)

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109. The last incident of sexual harassment occurred on or about October 4,
2000. (PI LR56.1(b) Ex. 1 Bray dep. p. 85-86; Ex. 13 Bray’s Answers to Ints p. 8; Ex, 15
Bray’s Notes p. 000110) On or about October 4, 2000 when they were in the
interviewing room together with an arrestee, Askew grabbed Bray’s breast again,
allegedly to check to see if her bulletproof vest was on. (PI LR56.1(b) Ex. 1 Bray dep. p.

85-86; Ex. 13 Bray’s Answers to Ints p. 8; Ex. 15 Bray’s Notes p. 000110}

110. After grabbing Bray’s breast, Askew began laughing. (Pl LR56.1(b) Ex. 1

Bray dep. p. 86)

111. Askew then advised Bray that she “owed him some {sexual favors]}.” (Pi
LR56.1(b) Ex. 1 Bray dep. p. 88, 436; Ex. 13 Bray’s Answers to Ints p. 8; Ex. 15 Bray’s

Notes p. 000110)

112. Bray was very upset and offended by Askew’s actions and informed
Askew that if he ever touched her again, she would go to the supervisor. (PI LR56. 1(b)
Ex. 1 Bray dep. p. 87-90, 436; Ex. 13 Bray’s Answers to Ints p. 8; Ex. 15 Bray’s Notes p.

000110)

113. Askew never talked to Bray from that point on. (P1 LR56.1(b) Ex. 13

Bray’s Answers to Ints p. 8; Ex. 15 Bray’s Notes p. 000110)

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114. Rather, Askew retaliated against Bray by causing her termination. (Pl

LRS56.1(b) Ex. 2 Askew dep. p. 72-73)

115. Lorraine Johnson, a retired police officer who used to work with Askew,
described him as a “sexist” because of comments he made in her presence, the way he
talks about women and the way he interacts with women. (P1 LR56.1(b) Ex. 7 Johnson

dep. p. 106)

116. Johnson testified at her deposition that she began riding with Askew
because his former female partner complained about him making unwelcome advances

toward her. (PI LR56.1(b) Ex. 7 Johnson dep. p. 72-73; Ex. 4 Jones dep. p. 55-56)

117. Askew’s former partner, Farrow, had requested a transfer out of the
district because she did not want to work with Askew due his sexual harassment of her.

(Pl LR56. 1(b) Ex. 4 Jones dep. p. 56-57)

118. One example of Askew’s sexist behavior Johnson recalled at her

deposition occurred on one occasion when she went to the movie theater where Askew

worked as a security guard, (P! LR56.1(b) Ex. 7 Johnson dep. p. 92-93)
119. Askew lifted her coat and looked at her behind. (Pl LR56.1(b) Ex. 7

Johnson dep. p. 92-93) Johnson was “surprised”, “hurt” and “humiliated” by Askew’s

degrading actions. (Pl LR56,.1(b) Ex. 7 Johnson dep. p. 93)

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120. Davina Loggins, another police officer, reported to Investigator Batog of
the EEOC that Askew had made sexual comments to her on at least three occasions. (Pl

LR56.1(b) Ex. 20 EEOC Notes)

121. Onor about July or August 2000, when Loggins was bending down,
Askew told her to be careful “bending down in front of me”. (Pl LR56.1(b) Ex. 20

EEOC Notes)

122. Also on or about July or August 2000, Askew told Loggins to “be carefull
how you back that thing up” referring to a song about a woman’s butt. (Pf LR56.1(b)

Ex, 20 EEOC Notes)

123. Onor about July or August 2000, Askew informed Loggins that he wanted

to have her baby. (Pi LR56.1(b) Ex. 20 EEOC Notes)

124. Loggins also reported that she witnessed Askew make sexual comments
toward other women such as, “girl, you look good,” or “mmmmh” when a woman

walked by. (P1 LR56.1(b) Ex. 20 EEOC Notes)

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125. Shortly after Bray was terminated, on or about December 2000, while at
St. Bernard’s Hospital Askew stated to Officer Gloria Jones, “I remember when we went
through the Academy, I always wanted to touch those big old titties of yours.” (Pl

LR56.1(b) Ex. 4 Jones dep. p. 28, 50)

126. Jones found this comment to be very offensive. (P1 LR56.1(b) Ex. 4 Jones

dep. p. 28, 50-51)

127. Jones testified at her deposition taken on July 18, 2002, that Askew is still
making comments of a sexual nature at the department. (P1 LR56.1(b) Ex. 4 Jones dep.

p. 29-30)

DONNA ADAMS

128. Donna Adams was Bray’s Field Training Officer during part of her third
cycle and all of her fourth cycle from on or about June 2000 through August 2000. (PI
LR56.1(b) Ex. 1 Bray dep. p. 91, 291, 321-322; Ex. 2 Askew dep. p. 52; Ex. 13 Bray’s

Answers to Ints p. 8)

129. Adams had only been a Field Training Officer since March 1999. (Pl

LR56.1(b) Ex. 3 Adams dep. p. 131)

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130. Adams sexually harassed Bray from on or about June 2000 through
August 2000. (PI LR56.1(b) Ex. 1 Bray dep. p. 91, 321-322; Ex. 13 Bray’s Answers to

Ints p. 8)

131. Gloria Jones, a police officer in the 7" district of the City of Chicago since
1990, described Adams at her depositions as “loud, boisterous and belligerent.” (P!

LRS56.1(b) Ex. 4 Jones dep. p. 6-7, 14, 22-23)

132. Jones further testified that from the first day she worked with defendant,
she heard Adams make sexually offensive comments on a daily basis. (P1 LR56.1(b) Ex.

4 Jones dep. p. 20)

133. Bray believed Adams was trying to get her to solicit sex in exchange for

money. (P! LR56.1(b) Ex. 1 Bray dep. p. 219-220, 222, 382)

134. During her fourth cycle, on or about mid July 2000, Bray became so
uncomfortable from Adams’ attempts to get her to sleep with men, it negatively impacted

her working relationship with Adams. (PI LR56.1(b) Ex. 1 Bray dep. p. 321-322)

135. On or about the end of June 2000 when Adams and Bray were on-call
together at 59™ and Halsted, Adams gave Bray a RC Cola card with a man’s name on it.
(P1 LR56.1(b) Ex. 1 Bray dep. p. 91, 105; Ex. 3 Adams dep. p. 85; Ex. 13 Bray’s

Answers to Ints p. 8)

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136. Adams told her that the guy was interested in her and that he had left the
card with Adams so that Bray could call him. (PI! LR56.1(b) Ex. 1 Bray dep. p. 91, 105;
Ex. 3 Adams dep. p. 85; Ex. 13 Bray’s Answers to Ints p. 8; Ex. 15 Bray’s Notes p.

000121)

137. Bray responded that she was not interested in dating at that time. (Pl

LR56.1(b) Ex. 1 Bray dep. p. 91, 106)

138. Adams told her that she should “go out with him and sleep with him for

the money.” (PI LR56.1(b) Ex. 1 Bray dep. p. 91-92, 106)

139. Bray responded by just shaking her head. (Pl LR56.1(b) Ex. 1 Bray dep.

p. 92, 106)

140. On many occasions, Adams would leave Bray in the squad car and go into
hardware stores and attempt to “lure” men into having sex in exchange for money. (PI

LR56.1(b) Ex. 1 Bray dep. p. 596)

141. On one of these occasions in mid-July 2000, Adams left Bray in the squad
car and went into a hardware store located on 75" and Vicennes. (Pl LR56.1(b) Ex. 1
Bray dep. p. 107, 109, 596; Ex. 13 Bray’s Answers to Ints p. 8) While Adams was in the
store, an older man approached Bray in the car. (P! LR56.1(b) Ex. 1 Bray dep. p. 107,

597)

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142. When Adams exited the hardware store, she asked the man, “Are you still
giving out applications?” (PI LR56.1(b) Ex, 1 Bray dep. p. 107, 597; Ex. 13 Bray’s

Answers to Ints p. 9; Ex. 15 Bray’s Notes p. 000122)

143. The man responded in the affirmative. (Pl LR56.1(b) Ex. ! Bray dep. p.

107, 597; Ex, 13 Bray’s Answers to Ints p. 9; Ex, 15 Bray’s Notes p. 000121)

144. Adams informed the man, “She [Bray] wants an application”. (Pl
LR56.1i(b) Ex. 1 Bray dep. p. 108, 597) Bray responded, “No, I don’t.” (PI LR56.1(b)

Ex. 1 Bray dep. p. 108)

145. The man then informed Bray, “I am not looking for you to be my woman.
1 am just looking for convenience.” (Pi LR56.1(b) Ex. 1 Bray dep. p. 108, 598; Ex. 13
Bray’s Answers to Ints p. 9) He went on to say that he pays well. (Pi LR56.1(b) Ex. 1

Bray dep. p. 108, 598}

146. Bray again declared that she did not do things like that. (P] LR56.1(b) Ex.

I Bray dep. p. 108; Ex. 13 Bray’s Answers to Ints p. 9}
147. Adams told the man that they would be right back and that Bray would

change her mind. (Pi LR56.1(b) Ex. 1 Bray dep. p. 108, 598; Ex. 13 Bray’s Answers to

Ints p. 9)

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148. As they were pulling away in their car Adams told Bray, “You’re stupid.
You’ re just like my daughter, you need a sugar daddy.” (P1 LR56.1(b) Ex. 1 Bray dep. p.

108, 598)

149. Adams advised Bray, “older men like that don’t like to fuck, they like to
be sucked.” (PI LRS6.1(b) Ex. 1 Bray dep. p. 108, 597; Ex. 13 Bray’s Answers to Ints p.

9; Ex. 15 Bray’s Notes p. 000122)

150. Adams proceeded to explain that all Bray would have to do is get drunk.
(Pl LR56.1(b) Ex. 1 Bray dep. p. 109, 598; Ex. 13 Bray’s Answers to Ints p. 9; Ex. 15

Bray’s Notes p. 000122)

151. Bray again responded that “she doesn’t do things like that.” (PI LR56.1(b)

Ex. 1 Bray dep. p. 109)

152, She expressed to Adams that she thought that it was disgusting. (Pl

LR56.1(b) Ex. 1 Bray dep. p. 109)

133. On another occasion in July 2000, while working with Bray, Adams
picked up a homeless man and went to breakfast with him at a restaurant on 74” and
Ashland. (PI LR56.1(b) Ex. 1 Bray dep. p. 30, 587-590; Ex. 3 Adams dep. p. 99; Ex. 13

Bray’s Answers to Ints p. 10-11)

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154, While the three of them sat there, Adams made overt sexual advances
toward the homeless man. (P1 LR56.1(b) Ex. 1 Bray dep. p. 588; Ex. 13 Bray’s Answers

to Ints p. 10)

155. For example, when the homeless man indicated he was trying to become a
preacher, Adams told him that she could “preach to” him in her bed and that they could

“pray together” in her bed. (PI LR56.1(b) Ex. 1 Bray dep. p. 588).

156. Bray was so embarrassed by Adams’ conduct, she got up and left the
table. (PI! LR56.1(b) Ex. 1 Bray dep. p. 588, 622-623; Ex. 13 Bray’s Answers to Ints p.

10)

157. On or about late July 2000, Adams revealed to Bray that she earned
additional income as a dominatrix and was into “S & M” (sadism and masochism). (Pl
LRS6.1(b) Ex. 1 Bray dep. p. 109, 592; Ex. 13 Bray’s Answers to Ints p. 9; Ex. 15 Bray’s

Notes p. 000122)
158. Adams informed Bray that she was in a club up north for dominatrixes and

that she held dominatrix sessions at her house on Fridays and Saturdays. (PI LR56.1(b)

Ex. 1 Bray dep. p. 110; Ex. 13 Plaintiffs Answers to Interrogatories p. 9)

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159. At his deposition, Askew would not confirm that Adams was a dominatrix
but did testify that it was rumored around the station for the past couple years that Adams

was a dominatrix. (PI LRS6.1(b) Ex. 2 Askew dep. p, 161-162)

160. Askew testified that he did know that Adams sold sex toys. (PI LR56. 1(b)

Ex. 2 Askew dep. p. 162)

161. Similarly, Jones testified at her deposition that she had heard about four or

five years earlier that Adams was a dominatrix. (PI! LR56.1(b) Ex. 4 Jones dep. p. 17)

162. When Adams informed Bray she was a dominatrix, she asked Adams what

being a dominatrix meant. (Pi LR56.1(b) Ex. 1 Bray dep. p. 112)

163. Adams went into detail with Bray about how it had to do with men in

power that liked being in bondage or tied up. (Pi LR56.1(b) Ex. 1 Bray dep. p. 112-113)

164. Adams told Bray she received money and gifts for her “sessions.” (Pl

LR56.1(b) Ex. 15 Bray’s Notes p. 000122)
165. After revealing she was a dominatrix, Adams constantly talked to Bray

about being a dominatrix and her “sessions” with her “slaves.” (P! LRS6.1(b) Ex. 1 Bray

dep. p. 110, 113, 127, 128-129, 594)

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166. Adams told Bray she would make a good dominatrix and could make
“easy money” as a dominatrix. (P! LR56.1(b) Ex. 1 Bray dep. p. 110; Ex. 13 Bray’s

Answers to Ints p. 9; Ex. 15 Bray’s Notes p. 000122)

167. Adams told Bray that she liked to put her slaves in cages and that most of

her clientele were white guys from the 7® district. (PI LR56.1(b) Ex. 1 Bray dep. p. 110)

168. Adams told Bray that she “liked white guys because they paid well and

black guys was [sic] not into S&M.” (PI LR56.1(b) Ex. 1 Bray dep. p. 593).

169. Adams frequently spoke of a client by the name of “Bob” who spent

Fridays with her in “sessions.” (PI LR56.1(b) Ex. 1 Bray dep. p. 593-594)

170, Adams told Bray that Bob liked bondage and would give her gifts or
money in exchange for intercourse. (P1 LR56.1(b) Ex. | Bray dep. p. 594; Ex. 13 Bray’s

Answers to Ints p. 10)
171. Onoccasion, Adams complained to Bray that she was too sore to get out

of the car from being beat the night before in one of her “sessions.” (P! LRS6.1(b) Ex. 1

Bray dep. p. 322, 593-594; Ex, 13 Bray’s Answers to Ints p. 10)

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172, Adams urged Bray to become a dominatrix because the additional income
would help support her five children. (P1 LR56.1(b) Ex. 1 Bray dep. p. 114; Ex. 13

Bray’s Answers to Ints p. 9-10; Ex. 15 Bray’s Notes p. 000122)

173. Adams also suggested Bray just “steep with men for money.” (PI

LR56.1(b) Ex. 1 Bray dep. p. 114; Ex. 13 Bray’s Answers to Ints p. 9-10)

174, Bray repeatedly told Adams that she was not interested. (PI LR56.1(b)

Ex. 1 Bray dep. p. 114)

175. Adams and Bray would actually get into verbal arguments over Adams’
insistence that Bray sleep with men for money. (Pl LR56.1(b) Ex. 1 Bray dep. p. 333;

Ex. 13 Bray’s Answers to Ints p, 12; Ex. 15 Bray’s Notes p. 000122)
176. Bray testified at her deposition that, “the more that she tried to convince
me to sleep with men [for money}, the meaner she got.” (Pl LR56.1(b) Ex. 1 Bray dep. p.

323; Ex. 13 Bray’s Answers to Ints p. 12)

177. Adam’s consistent urging that Bray have sex with men for money caused

Bray stress at work. (Pl LR56.1(b) Ex. 1 Bray dep. p. 474-475)

178. At one point in July 2000, Bray told Adams that she felt intimidated by

Adam’s behavior. (PI LR56.1(b) Ex. 1 Bray dep. p. 595)

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179. Adams responded by laughing at Bray. (PI LR56.1(b) Ex. 1 Bray dep. p.

595)

180. Adams also revealed to Bray that she liked to wash her dog naked. (Pl

LR56.1(b) Ex. 1 Bray dep. p. 113-114; Ex, 15 Bray’s Notes p. 000123)

~ 181. On another occasion on or about July 2000, Adams took Bray to 74 and
Ashland to pick up a custom-built “cage for bondage” from an old storage warehouse.
(PI LR56.1(b) Ex. 1 Bray dep. p. 115, 120, 123; Ex. 5 Spurgeon dep. p. 17-19; Ex. 13

Bray’s Answers to Ints p. 10; Ex. 15 Bray’s Notes p. 000123)

182. Adams told Bray that the cage was for her slaves. (P1 LR56. 1(b) Ex. 1

Bray dep. p. 150; Ex. 13 Bray’s Answers to Ints p. 10)

183. Adams explained to Bray that her “slaves loved being locked in a cage.”

(PI LRS6.1(b) Ex. 13 Bray’s Answers to Ints p. 10; Ex. 15 Bray’s Notes p. 000123)
184. Adams also told Bray that some of her clients liked to be “laid out on a

cross and beaten.” (Pl LR56.1(b) Ex. 13 Bray’s Answers to Ints p. 10; Ex. Bray’s Notes

p. 15 000123-000124)

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185. Officers Hebein and Spurgeon met Bray and Adams at 74" and Ashland.

(P1 LR56.1(b) Ex. 1 Bray dep. p. 117; Ex. 31 Bray’s Answers to Ints p. 10)

186. Officers Hebein and Spurgeon helped her load the cage into a police
wagon. (PI LR56.1(b) Ex. 1 Bray dep. p. 115, 118-119; Ex. 13 Bray’s Answers to Ints p.

10)

187. They then drove to her home, unloaded the cage and took it to the

basement. (Pl LR56.1(b) Ex. 1 Bray dep, p. 115, 118-119; Ex. 13 Bray’s Answers to Ints

p. 10)

188. The cage was wooden and came unassembled. (P] LR56.1(b) Ex. 1 Bray

p. 117, 118)

189, At her deposition, Adams claimed that it was only “a joke” that the item
being picked up and transported by the police vehicle to her home was a cage for people.

(PI LR56.1(b) Ex. 3 Adams dep. p. 110-111)

190. Frequently during their shift, Adams would search the alleyways and
garbage canisters for discarded furniture to use in her dominatrix sessions. (Pi LR456.1(b)
Ex. 1 Bray dep. p. 127-128; Ex. 13 Bray’s Answers to Ints p. 10; Ex. 15 Bray’s Notes p.

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191. Adams spent more time looking in alleys for furniture to use during her

dominatrix sessions than field training Bray. (P1 LR56.1(b) Ex. 1 Bray dep. p. 119)

192. Bray did not feel that Adams taught her anything she needed to know to

become a good police officer. (P1 LR56.1(b) Ex. 1 Bray dep. p. 129)

193. When she was supposed to be field training Bray, Adams frequently left
the district for personal business. (Pl LR56.1(b) Ex. 1 Bray dep. p. 333; Ex. 3 Adams

dep. p. 42-43, 106)
194. Adams also would tell Bray that her walk was “too feminine” and that she
should walk like Officer Fernandez because she has a more masculine walk. (Pl

LR56.1(b) Ex. 1 Bray dep. p. 126)

195. Adams even went so far as to suggest that Bray walk with a dip. (Pl

LR56.1(b) Ex. 1 Bray dep. p. 126)

196. Bray responded that she “wasn’t masculine, and I shouldn't have to

change my walk for a job.” (P1 LR56.1(b) Ex. 1 Bray dep. p. 339)

197. Adams would also urge Bray to use profanity with citizens and to be rude

tothem. (P1 LR56.1(b) Ex. 1 Bray dep: p. 126, 297-299)

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198. Adams repeatedly told Bray to “mother fuck people”. (PI LR56.1(b) Ex. 1

Bray dep. p. 303)

199. Adams explained at her deposition that it is necessary for her to use

profanity with citizens “for understanding.” (P! LR56.1(b) Ex. 3 Adams dep. p. 41-42)

200. Bray refused to act in such a manner because she felt it was

unprofessional. (PI LR56.1(b) Ex. 1 Bray dep. p. 126)

201. After Bray’s last training cycle, Adams invited her to a dominatrix party.

(PI LR56.1(b) Ex. 1 Bray dep. p. 125, 435; Ex. 13 Bray’s Answers to Ints p. 10-11)

202. When Bray did not attend the party, Adams stopped speaking to Bray. (Pl

LR56.1(0) Ex. 1 Bray dep. p. 125, 435; Ex. 13 Bray’s Answers to Ints p. 10-11)
203. Adams stated at her deposition that after Bray’s fourth training cycle, she
did not have any further contact with Bray except perhaps saying, “hi” in passing. (Pl

LRS56.1(b) Ex. 2 Adams dep. p. 57, 73)

204. Adams quit being a field training officer approximately 6 months after she

worked with Bray, (P1 LR56.1(b) Ex. 3 Adams dep. p. 8-9)

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205. At her deposition, Adams stated she quit being a field training officer

because she “was fed up with the stupid recruits.” (P1 LR56.1(b) 3 Adams dep. p. 10)

206. Although Bray was very uncomfortable with the things Adams was doing,
she did not understand them to be sexual harassment at the time they occurred. (Pl

LR56.1(6) Ex. 1 Bray dep. p. 219, 222, 382)

207. Adams passed and “Field Qualified” Bray on her fourth cycle on or about

July 24, 2000. (PI LR56.1(b) Ex. 1 Bray dep. p. 337)

208. This meant Bray was qualified and able to work without a Field Training

Officer. (P1 LR56.1(b) Ex. 1 Bray dep. p. 337)

209, Eileen Bell, Assistant Corporation Counsel for the City of Chicago, agreed
with Investigator Batog of the EEOC that it was “odd” that Bray was field qualified but

then told she was not qualified to be a police officer. (PI LR56.1(b) Ex. 23 EEOC notes)

210. In fact, even Askew testified at his deposition that during his 10 years with
the City, he could only recall one other probationary police officer ever being terminated
right before their probationary period ended. (Pl LR56.1(b) Ex. 2 Askew dep. p. 58-59,

148; Ex. 43 Jones Statement)

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211. Similarly, Loggins has never heard of a PPO being discharged when Field

Qualified. (Pl LR56.1(b) Ex. 20 EEOC notes)

212. Not surprisingly, that individual is deceased and therefore unavailable for

questioning, (P1 LR56,.1(b) Ex. 2 Askew dep. p. 58)

213. In its answers to interrogatories, defendant states that in 2000, it employed
720 probationary police officers. (Pl LR56.1(b} Ex. 14 Def’s Answers to Ints p. 18)

However, the defendant refused to indicate how many of those probationary police
officers did not complete their probationary period, (P] LR56.1(b) Ex. 14 Def’s Answers

to Ints p. 18-19)

SEXUAL HARASSMENT POLICY
214. The City of Chicago’s Sexual Harassment Policy as stated in the Training
Bulletin reads as follows:

“Hostile Environment harassment” occurs when
unwelcome sexual conduct unreasonably interferes with an
individual’s job performance or creates an intimidating,
hostile, or offensive working environment, even if it leads
to no tangible or economic job consequences, What is
unwelcome sexual conduct? It is harassing conduct that
includes touching, slurs, innuendos, propositions, vulgar
jokes, pinups, obscene drawings or other such behavior
directed toward one sex. The use of colloquial nicknames
such as ‘darling,’ ‘honey,’ ‘sweetheart,’ ‘dear,’ etc. can be
construed as harassing conduct. Unwelcomeness, a key
element, is not to be confused with voluntary participation.
To be harassment, the conduct must be unwelcome.” (Pl
LR56.1(b) Ex. 52 Def’s Sexual Harassment Policy)

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215. Under this policy, Bray was sexually harassed by both Askew and Adams.

(P1 LRS6.1(b) Ex. 52 Def’s Sexual Harassment Policy)

AFTER FIELD TRAINING — THE EVENTS LEADING TO BRAY’S
TERMINATION

216. On or about October 4, 2000, when they were in the interviewing room
together, Askew grabbed Bray’s breast again, allegedly to check to see if her bulletproof
vest was on. (Pl LR56.1(b) Ex. 1 Bray dep. p. 85-86; Ex. 13 Bray’s Answers to Ints p. 8;

Ex. 15 Bray’s Notes p. 000110)

217. After grabbing Bray’s breast, Askew began laughing. (PI LR56.1(b) Ex. 1

Bray dep. p. 86)

218. Askew then advised Bray that she “owed him some [sexual favors]”. (PI
LR56.1(b) Ex. 1 Bray dep. p. 88, 436; Ex. 13 Bray’s Answers to Ints p, 8; Ex. 15 Bray’s

Notes p. 000110)

219. Bray was very upset and offended by Askew’s unwelcome actions and
informed Askew that if he ever touched her again, she would go to the supervisor. (PI
LRS56.1(b) Ex. 1 Bray dep. p. 87-90, 436; Ex. 13 Bray’s Answers to Ints p. 8; Ex. 15

Bray’s Notes p. 000110)

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220. Askew did not reply. (P1 LR56.1(b) Ex. 13 Bray’s Answers to Ints p. 8;

Ex, 15 Bray’s Notes p, 000110)

221. Rather, Askew contacted the Police Academy and requested that they
evaluate Bray’s performance. (P! LR56.1(b) Ex. 2 Askew dep. p. 72-73; Ex. 3 Adams

dep. p. 80-82)

222. Askew enlisted the help of Adams to assist in his complaint of Bray to the

Academy. (PI LR56.1(b) Ex. 3 Adams dep. p. 80-82)

223. Askew and Adams then recommended to the Review Board that Bray be
terminated. (PI LR56.1(b) Ex. 1 Bray dep. p. 80; Ex. 27 Askew’s Statement; Ex. 53

Adams’ Statement)

224. In his statement to the District Commander, Askew claims:

R/O [Reporting Officer] was alarmed that P.P.O. Bray had to be
given an order to get out of her vehicle to assist her partner who was
searching a subject.

R/O had warned P.P.O. Bray that steps backwards in training could
have a negative effect on her employment.

In this R/Os opinion a mistake was made in making this P.P.O.
field qualified and in the interest of safety for P.P.O. Bray and any officer
who may be assigned to work with her that her position as P.P.O. be
terminated. (P1 LR56,1(b) Ex. 27 Askew’s Statement)

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225. In her statement to the District Commander, Adams states:

R/O [Reporting Officer] trained and field qualified PPO Bray
based on minimum effort on her part. R/O realizes that different people
learn at different rates. This was the reason R/O requested fourth cycle for
PPO Bray. R/O felt that PPO would improve as she gained more
confidence and had more street time. During the fourth cycle it appeared
that PPO was making an effort. Upon completion of the fourth cycle PPO
had reached a bare minimum skill/knowledge. It was brought to R/O’s
attention by several PO’s who had worked with PPO Bray that they would
not work with her. Based on these conversations R/O has come to the
conclusion that PPO has reverted to the attitude that she did not have to
perform. R/O seriously regrets having field qualified PPO Bray based on
what R/O was told and the fact that she had to be ordered out of the
vehicle to assist her partner.

R/O feels that it is apparent that PPO Bray is unsafe, a danger to
herself and others and should not continue to be a police officer working
on the streets of the City of Chicago, (PI LR56,1(b) Ex. 53 Adams’
Statement)

226, Both Askew and Adams claimed at their depositions that they requested
Bray be evaluated and recommended her termination specifically because they heard
from “someone” that Bray had to be ordered out of her car to assist her partner on one
occasion. (PI LR56.1(b) Ex. 2 Askew dep. p. 73, 82; Ex. 3 Adam’s dep. p. 70-72)
Therefore, they felt she was too unsafe to become a police officer. (P1 LR56.1(b) Ex. 2

Askew dep. p. 73, 82)

227. Askew described this as the “incident that basically launched the whole re-

evaluation,” (PI LR56.1(b) Ex. 2 Askew dep. p. 81)

228. Similarly, Adams testified at her deposition that it was this “particular

incident that concerned [her] the most.” (PI! LR56,1(b) Ex. 3 Adams dep. p. 82)

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229. However, neither Askew nor Adams could identify the person who told

them about this “incident.” (Pl LR56.1(b) Ex. 2 Askew dep. p. 73, 82; Ex. 3 Adams dep.

p. 65)

230. Neither Askew nor Adams could even identify which partner Bray
allegedly failed to assist. (PI LR56.1(b) Ex. 2 Askew dep. p. 73, 82; Ex. 3 Adams dep.

65)

231. This “incident” actually occurred five months earlier in May 2000, during
Bray’s second cycle of training while she was working with Officer Mike Cleary. (Pl

LR56.1(b) Ex. 1 Bray dep. p. 347-348, 350-351, 353, 570-571)

232. In May 2000, there was an occasion in which Bray was unable to get out
of her squad car to assist Cleary because her car door was jammed, (PI LR56.1(b) Ex. 1

Bray dep. p. 347-348, 350-351, 353, 570-571)

233. Lieutenant Zapolsky, who did not know Bray was having trouble getting
out of the car, had pulled along side the car, ordered Bray out of it and then immediately
left. (P1 LR56.1(b) Ex. 1 Bray dep. p. 347-348, 351-352, 570; Ex. 3 Adams dep. p. 136;

Ex. 28 Zapolsky Statement; Ex. 20 EEOC notes p. 000185)

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234. No one said anything else to Bray about this matter after Zapolsky pulled
away from the car. (PI LR56.1(b) Ex, 1 Bray dep. p. 354-355, 356; Ex. 28 Zapolsky

Statement; Ex. 20 EEOC notes p. 000185)

235. At no time did Cleary ever mention it to Bray. (PI! LR56.1(b) Ex. 1 Bray

dep. p. 347-348, 356, 570-571)

236. Cleary never reprimanded or counseled Bray for it either. (Pl LRS56.1(b)

Ex. 1 Bray dep. p. 570-571)

237. Cleary did not even cite this matter in the Daily Observation Reports he
prepared for Bray. (PI LR56.1(b) Ex. 1 Bray dep. p. 570-571; Ex, 36 Daily Observation

Reports)

238. To the contrary, Cleary gave Bray “above adequate” scores for the areas
of performance he observed during the period she worked with him. (PI LR56.1(b) Ex. 1
Bray dep. p. 569-571; Ex. 36 Daily Observation Report; Ex. 29 Daily Observation Report

Summary)

239. Neither Askew nor Adams were present when this incident occurred. (PI

LR56,1(b) Ex. 2 Askew dep. p. 81; Ex. 3 Adams dep. p. 64-65)

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240. Neither Askew nor Adams even bothered to ask Bray about this rumored

incident. (P1 LR56.1(b) Ex. 3 Adams dep. p. 126)

241. Despite the fact the “incident” was not a concern of anyone’s at the time it
occurred in May 2000, Askew alleges that mere rumor of it in October 2000 -—
coincidentally right after Bray threatened to report him for sexual harassment — was
sufficient to cause Askew to seek Bray’s termination. (Pl LR56.1(b} Ex. 1 Bray dep. p.

80; Ex. 27 Askew’s Statement; Ex. 15 Bray’s Notes p. 000110; Ex. 20 EEOC).

242. Ironically, Adams testifted at her deposition that she does not generally

believe the rumors she hears around the station. (Pl LR56.1(b) Ex. 3 Adams dep. p. 130)
243. Adams further testified at her deposition that if she hears a rumor which is
important enough to her, she will “go find out” by going “to the source.” (PI LR56.1(b)

Ex. 3 Adams dep. p. 130)

244. However, Adams never spoke to Bray about the alleged incident she

claims she heard gossiped around the station, (P! LR56.1(b) Ex. 3 Adams dep. p. 73)

245. In fact, after Bray’s fourth cycle, Adams never spoke to anyone about

Bray’s performance. (P1 LR56.1(b) Ex. 3 Adams dep. p. 67-70)

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246. Adams also testified at her deposition that in her 17 years as a police
officer, this was the first time Adams felt it was necessary to come forward about another

officer. (PI! LR56.1(b) Ex. 3 Adams dep. 72-73)

247. On October 19, 2000, Lieutenant Zapolsky was requested to prepare a

written evaluation of Bray. (Pl LR56.1(b) Ex. 28 Zapolsky Statement)

248. In his statement, Zapolsky mentions this “incident” which occurred five
months earlier, but does not give it much significance. (Pl LR56.1(b) Ex. 28 Zapolsky

Statement)

249. Rather, he states that this was the only incident he had involving Bray and
that since then he has not had sufficient time to “properly and fairly evaluate PPO
BRAY” on his watch and therefore cannot offer an opinion on her performance, (PI

LR56.1(b) Ex. 28 Zapolsky Statement)

250, On or about October 20, 2000, approximately two weeks after Bray
threatened to report Askew if he touched her again, Bray was called into a meeting with

Lieutenant Zapolsky, Lieutenant Duesworth and Sergeant Judon and given a notice that

“her performance during her probationary period was going to be reviewed. (PI LR56.1(b)

Ex. 1 Bray dep. p. 390-392; Ex. 9 Judon dep. p. 14; Ex. 13 Bray’s Answers to Ints p. 23-

24; Ex. 15 Bray’s Notes p. 000111)

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251. Bray inquired what the purpose for the review was. (PI LR56.1(b) Ex. 1

Bray dep. p. 392)

252. Lieutenant Zapolsky told Bray that he did not know and that it was her
Field Training Officers who requested the evaluation. (Pl LR56.1(b) Ex. 1 Bray dep. p.

392-393, 435-436; Ex. 15 Bray’s Notes p. 000111)

253. Bray expressed that she did not understand why they had let her get this
far in the process and asked why they would Field Qualify her if they did not think she

was a good officer. (PI! LR56.1(b) Ex. 1Bray dep. p. 394)

254. Bray then attempted to tell Lieutenant Zapolsky, Sergeant Judon and
Lieutenant Duesworth that Askew had sexually harassed her and that Adams had been
trying to get her to solicit sex. (Pl LR56.1(b) Ex. 13 Bray’s Answers to Ints p. 24; Ex. 1

Bray dep. p. 393-394)

255. Bray also tried to tell them that she believed Adams had forged her
signature on some of the Daily Observation Reports she prepared during Bray’s fourth
cycle. (PI LR56.1(b) Ex, 1 Bray dep. p. 324-328, 383-384, 394) at her deposition, Bray
identified D306, 308, 282, 284, 286, and 288 Daily Observation Reports which clearly
contained forged signatures. (PI LR56.1(b) Ex. 1 Bray dep. 324-328; Ex. 41 Daily

Observation Reports D306, 308, 282, 284, and 288)

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256. However, Judon cut her off stating, “it’s too late for that.” (P1 LR56.1(b)

Ex. 1 Bray dep. p. 393-394)

257. Before the meeting ended, Bray requested to see her file. (PI LR56.1(b)

Ex, 1 Bray dep. p. 395)

258. The Lieutenants looked though the file and noticed that the signatures on
the Daily Observation Reports prepared by Adams during Bray’s fourth cycle did not

match Bray’s signature on other documents. (P1 LR56.1(b) Ex. 1 Bray dep. p. 395)

259. Bray requested copies of her file for “when she obtained an attorney.” (PI

LR56.1(b) Ex. 1 Bray dep. p. 395)

260. Upon hearing that Bray intended to retain an attorney, Judon snatched

Bray’s file out of her hands. (P! LR56.1(b) Ex. 1 Bray dep. p. 396-397)

261. That evening, October 20, 2000, Bray telephoned Askew at home and
asked him “what was happening.” (PI LR56.1(b) Ex. 2 Askew dep. p. 94) Askew

refused to talk to Bray. (P1 LR56.1(b) Ex. 2 Askew dep. p. 94)
262. Also on or about October 20, 2000, Bray was taken off the street and

restricted to desk duty, (PI LR5S6.1(b) Ex. 1 Bray dep. p. 396-397; Ex. 15 Bray’s Notes p.

000111)

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263. On desk duty, her duties were drastically reduced. (Pl LR56.1(b) Ex. 1
Bray dep. p. 397) The only task she was given was to file papers, (PI LR56.1(b) Ex. 1

Bray dep. p. 397)

264. While Bray was sitting at the desk, officers would approach her and ask

why she was being terminated. (Pi LR56,1(b) Ex. 1 Bray dep. p. 398)

265. Bray explained that she was being re-evaluated and asked several officers
to prepare statements on her behalf. (P1 LR56.1(b) Ex. 1 Bray’s dep. p. 397; Ex. 15

Bray’s Notes p. 000111)

266. The following day on or about October 22, 2000, Bray was assigned to the

radio room. (Pl LRS6.1(b) Ex. 1 Bray dep. p. 398, 577; Ex. 15 Bray’s Notes p. 000111.)

267. The radio room was located in a secluded area, preventing Bray from

interacting or communicating with other officers. (PI LR5S6.1(b) Ex. 1 Bray dep. p. 578)

268. The only time she saw other people was for approximately one hour a day

when radios were passed out. (Pi LR56.1(b) Ex. 1 Bray dep. p. 398, 578)

269. Bray was not allowed to dispense the radios, consequently she had to

watch while another officer distributed the radios. (P! LR56.1(b) Ex. 1 Bray dep. p. 398,

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578) At all other times, the door to the radio room was shut. (PI LR56.1(b) Ex. 1 Bray

dep. p. 578)

270. Bray felt embarrassed and humiliated when she was in the radio room. (PI

LR56.1(b) Ex. 1 Bray dep. p. 577-578

271. Bray remained assigned to the radio room until she was terminated on or
about October 24, 2000. (PI LR56.1(b) Ex. 1 Bray dep. p. 577; Ex. 16 Termination

Letter)

272. Bray was allowed to submit a written statement to the Review Board. (PI

LRS56, 1(b) Ex. 1 Bray dep. p. 398)
273. Bray wrote a statement delineating all the sexual harassment she had
experienced and had Lieutenant Murphy review it. (P1 LR56.1(b) Ex. 1 Bray dep. p. 401,

426)

274, After Murphy read Bray’s initial statement, he instructed her to re-write it.

(PI LRS6.1(b) Ex. 1 Bray dep. p. 426)

275. Murphy told Bray that “this isn’t about the Field Training Officers, this is

about you.” (Pi LR56,1(b) Ex. 1 Bray dep. p. 401; Ex. 15 Bray’s Notes p. 000112)

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276. Murphy then recommended that Officer Joyce, who was in school to be an
attorney, help Bray re-write the statement. (PI! LR56.1(b) Ex. 1 Bray dep. p. 401; Ex. 15

Bray’s Notes p. 000112)

277. Murphy advised Bray she would “be in good hands” with Joyce, (Pl

LRS56.i(b) Ex. 1 Bray dep. p. 407)

278. Joyce called Bray and recommended that Bray not “say anything bad
about Bruce [Askew] because Bruce [Askew] is going to be the one to help you get your
job back.” (PI LR56.1(b) Ex. 1 Bray dep. p. 402-403, 408; Ex. 15 Bray’s Notes p.

000111-000112)
279. Joyce emphasized to Bray, “Just don’t write anything negative about him
[Askew], put good things about him in your report.” (PI LRS6, 1(b) Ex. 1 Bray dep. p.

403; Ex. 15 Bray’s Notes p. 000112)

280. Bray confided in Joyce about the sexual harassment. (Pl LRS6. 1(b) Ex. 1

Bray dep. p. 406; Ex. 21 EEOC notes p. 000186)

281. Joyce advised Bray, “Don’t speak of anything, because that’s like sour

grapes.” (PI LR56.1(b) Ex. 1 Bray dep. p. 406, 409; Ex. 15 Bray’s Notes p. 000113)

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282. Bray trusted Joyce because he was a law student and believed he meant
well so she left the allegations of sexual harassment out of her statement. (P! LR56.1(b)

Ex. 1 Bray dep. p. 406, 409)

283. Onthe morming of October 23, 2000, Joyce re-wrote a statement for Bray.

(P1 LR56.1(b) Ex. | Bray dep. p. 405, 407)

284. Bray then copied the statement in her own handwriting before she met

with the Review Board. (P1 LR56,1(b) Ex. 1 Bray dep. p. 405, 407)

285. Bray thought what Joyce was having her write would save her job. (Pl
LR56.1(b) Ex. 1 Bray dep. p. 408) Therefore, Bray did not really read the statement

Joyce wrote as she was copying it. (P! LR56.1(b) Ex. 1 Bray dep. p. 408-409)

286. Joyce then took her statement and escorted her to the Police Academy. (Pl

LRS56.1(b) Ex. 1 Bray dep. p. 405; Ex. 15 Bray’s Notes p. 000113)
287. When she arrived at the Academy, Bray was told to report at 8:00 a.m. the
following day, October 24, 2000, in civilian clothes and to bring her star and ID. (PI

LR56.1(b) Ex. 1 Bray’s dep. p. 415-416; Ex. 15 Bray’s Notes p. 000113)

288. During the entire review process, Bray felt she was being “rushed out” of

the police department. (P1 LR56.1(b) Ex. 1 Bray dep. p. 405-406, 408, 415, 425)

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289. She was never given an opportunity to talk to anyone on the Review

Board. (P1LR56.1(b) Ex. 1 Bray dep. p. 411-413, 425)

290, In addition to the statement Joyce drafted for her, Bray also submitted
statements from four officers she had worked with, (PI LR56,1(b) Ex. 1 Bray dep. p.

409)

291. Bray submitted a statement from Officer Gloria Jones to the Review

Board. (PI LR56.1(b) Ex. 1 Bray dep. p. 552-553; Ex. 4 Jones dep. p. 31, 33)

292. Bray worked with Jones quite a few times. (PI LR56.1(b) Ex. 1 Bray dep.

p. 555; Ex. 4 Jones dep. p. 8)

293. Bray was partnered with Jones from on or about June or July of 2000

through the time Bray was terminated. (Pl LR56.1(b) Ex. 4 Jones dep. p. 8, 53)
294. As her partner, Jones had many opportunities to observe Bray and stated at
her deposition that Bray was “professional” and “seemed to know what she was doing.”

(PI LRS6.1(b) Ex. 4 Jones dep. p. 10)

295. Jones also testified at her deposition that she was never fearful to work

with Bray. (PI LR56.1(b) Ex. 4 Jones dep. p. 10)

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296.

dep. p. 10)

297.

In fact, Jones requested to work with Bray. (P1 LR56.1(b) Ex. 4 Jones

Jones went through the Police Academy with Askew and has been on the

police force for the same amount of time as Askew — since 1990. (P1 LR56.1(b) Ex. 2

Askew dep. p. 148; Ex. 4 Jones dep. 22-23)

299,

298.

In her statement dated October 22, 2000, Jones states:

I have worked with Officer Bray on several occasions [sic]. I
always felt secure with her as a partner. Officer Bray always presented
herself in a sure and knowledgeable manner. Due to the fact that I have
ten years on the job, there was a lot of information that I learned and
welcomed from Officer Bray.

R\O [Reporting Officer] has no second thoughts about P.O. [Police
Officer] Bray’s effectiveness as a police officer and welcomes the
opportunity to work with her again. (PI! LR56.1(b) Ex. 43 Jones
Statement; Ex. 4 Jones dep. p. 31)

At the time she wrote this letter, Jones had been a police officer for at least

10 years. (PI LR56.1(b) Ex. 1 Bray dep. p. 605; Ex. 43 Jones Statement)

300,

Despite the extensive amount of time Jones spent working with Bray after

her training cycles, no one, including the Chicago Police Department , ever interviewed

Jones regarding Bray. (P! LR56.1(b) Ex. 4 Jones dep. p. 33-34)

301.

However, on one occasion, Adams did ask Jones how she liked working

with Bray. (P1 LR56.1(b) Ex. 4 Jones dep. p. 34)

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302. Jones responded, “she is no problem.” (Pi LR56.1(b) Ex. 4 Jones dep. p.

34)

303. Bray also submitted a statement from Officer Jenkins to the Review

Board. (PI LR56.1(b) Ex. 1 Bray dep. p. 552-553)

304. Jenkins was the last partner Bray had before she was assigned to desk

duty. (PI LR56.1(b) Ex. 1 Bray dep. p. 555-556)

305. Inhis statement dated October 22, 2000, Jenkins states:

RO [Reporting Officer] is submitting this to from at the request of
PPO [Probationary Police Officer] Bray. P.O. [Police Officer] Jenkins
worked with PPO Bray on 12 Oct 00 & 13 Oct 00.

On the above dates RO observed PPO Bray worked the events that
we handled safely and effectively. (PI LR56.1(b) Ex. 44 Jenkins
statement)

306. Jenkins told Bray that on the date she was put on desk duty, on or about
October 20, 2000, Lieutenant Murphy and Lieutenant Zapolsky approached Jenkins and
attempted to get him to write a negative statement about Bray. (P1 LR56.1(b) Ex, 1 Bray

dep. p. 556, Ex. 13 Bray’s Answers to Ints p. 18)
307. Jenkins told Bray that he refused to write such a statement because he did

not have any problems with her and would continue to work with her. (P1 LR56.1(b) Ex.

1 Bray dep. p. 556-557; Ex. 13 Bray’s Answers to Ints p. 18)

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308. Bray also submitted a letter from Officer Kimbrough to the Review Board.

(P1 LR56.1(b) Ex. 1 Bray dep. p. 558-559)

309, Kimbrough has been a police officer for over 20 years. (P! LR56.1(b) Ex.

2 Askew dep. p. 147)

310. At his deposition, Askew stated that Kimbrough was “definitely a good

Officer” and that he valued her opinion. (PI LR56.1(6) Ex. 2 Askew dep. p. 147)

311. Inher statement dated October 22, 2000, Kimbrough states:
R/O [Reporting Officer] is writing this To-From on behalf of PPO
[Probationary Police Officer] Pamela Bray. R/O had the opportunity to
work w/ PPO Bray on at least two occasions and experienced no problems
with her capability as an officer or her knowledge of the job.
R/O at no time felt in fear for her safety or well-being and would

have no problem w/working with PPO Bray in the future. (PI LR56.1(b)
Ex, 45 Kimbrough Statement)

312. Bray also submitted a statement from Officer Davina Loggins to the

Review Board. (P! LR56.1(b) Ex. 1 Bray dep. p. 560-561)

313. Bray worked with Loggins “quite a few times” after her training cycles

were completed. (PI LR56.1(b) Ex. 1 Bray dep. p. 561)

314. Askew testified at his deposition that Loggins was “a damned good Police

Officer.” (P1 LR56.1(b) Ex. 2 Askew dep. p. 146)

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315. Inher statement dated October 22, 2000, Loggins states:
PO [Police Officer] is writing this to-from report at the request of

PPO [Probationary Police Officer] Bray. I’ve had the opportunity to work
with PPO Bray on several occasions. I had no problems with how show
handled our jobs. We had several domestic and PPO Bray handled all of
them in a very professional and aggressive manner, I personally would
not mind working with PPO Bray if given the chance again. (PI
LR56.1(b) Ex. 46 Loggins statement)

316. As instructed, on or about October 24, 2000, Bray went to the Police

Academy and was escorted into a room where she sat for seven and a half hours. (PI LR

56.1(b) Ex. 1 Bray dep. p. 417, 426; Ex. 15 Bray’s Notes p. 000114)

317. While she waited at the Police Academy, Bray bumped into her former
teacher, Officer Smith. (P1 LR56.1(b) Ex. 1 Bray dep. p. 418-420; Ex, 15 Bray’s Notes p.

000114)

318. Bray broke down crying and told Smith that she was sexually harassed by
her Field Training Officers and believed that they were behind her termination. (Pl

LR56.1(b) Ex. 1 Bray dep. p. 418-420)

319. Officer Smith advised Bray, “Whatever you do. . . don’t sign shit.” (Pl

LR56.1(b) Ex. ! Bray dep. p. 420-421, 423; Ex. 15 Bray’s Notes p. 000114).

320. Smith also added, “They don’t even want me talking to you.” (Pl

LR56.1(b) Ex. 1 Bray dep. p. 420; Ex. 15 Bray’s Notes p. 000114)

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321. Finally, at approximately 4:00 p.m. on or about October 24, 2000, Bray
met with Deputy Superintendent Schenkel and Lieutenant Skahill. (P1 LR56.1(b) Ex. 1

Bray dep. p. 421, 427; Ex. 15 Bray’s Notes p. 000115; Ex. 10 Skahill dep. p. 11)

322. Skahill gave Bray a termination notification. (P1 LR56.1(b) Ex. 1 Bray

dep. p. 422; Ex. 10 Skahill dep. p. 15)

323. When she asked why she was being terminated, Deputy Superintendent
Schenkel responded, “I don’t have to give you a reason.” (PI LR56.1(b) Ex. 1 Bray dep.

p. 422; Ex. 15 Bray’s Notes p. 000115)

324. Bray refused to sign the termination notification. (P! LR56.1(b) Ex. 1 Bray

dep. p. 422; Ex. 15 Bray’s Notes p, 000115)

325. Inthe Review Board’s written decision, although it mentions a couple of
minor problems Bray had during her training cycles, it also notes that during her fourth
cycle of training she improved her performance and was rated “qualified.” (PI LR56.1(b)

Ex. 47 Review Board Decision )

326. However, the Board then goes on to rely on the “incident” which Askew
claims he heard about in October 2000 from an unknown individual wherein Bray was
ordered out of her car to assist her partner. (Pi LR56.1(b) Ex. 47 Review Board

Decision)

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327, The Board’s decision fails to note, however, that this “incident” took place
five months earlier in May 2000 during Bray’s second cycle of training — before she was
rated “Field Qualified.” (P1 LR56.1(b) Ex. 1 Bray dep. p. 347-348, 350-351, 353, 570-

571)

328. The Board’s decision also fails to note that the reason Bray did not get out
of her car on that occasion in May 2000, was because the door had jammed and not
because she was unwilling to assist her partner. (P! LR56.1(b) Ex. 1 Bray dep. p. 347-

348, 350-351, 353, 570-571)

329, The decision also notes that allegedly “several police officers” in the
district had requested not to be partnered with Bray because they do not feel safe working

with her, (P1 LR56.1(b) Ex. 47 Review Board Decision)

330. However, not one of these alleged police officers is identified. (PI

LRS56.1(b) Ex. 47 Review Board Decision)

331. Not one single police officer ever requested in writing or in any other
official police document not to work with Bray, (PI LR56.1(b) Ex. 28 Zapolsky

Statement)

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332. Jones stated at her deposition that she was never fearful of working with
Bray and would not have asked to work with her again if she was. (P! LR56.1(b) Ex. 4

Jones dep. p. 10)

333. The Review Board based its decision to terminate Bray on inaccurate and
misleading gossip intentionally provided to it by Askew, (Pl LR56.1(b) Ex.47 Review

Board Decision)

334, The Review Board’s findings do not reflect that they reviewed or even
received Bray’s statement or the statements prepared by other officers on her behalf. (Pl

LRS56.1(b) Ex. 47 Review Board Decision)

335. The Review Board did not review any documents or statements submitted
by Bray, (PI LR56.1(b) Ex. 47 Review Board Decision; Ex. 26 Def’s Amended Position

Statement)

336. In fact, the First Amended Position Statement submitted by the City of
Chicago to the EEOC, which lists and attaches the documents it claims were relied upon
in making the decision to terminate Bray, does not list nor attach Bray’s statement nor the
statements of the officers submitted by Bray. (P1 LR56.1(b) Ex. 26 Def’s Amended

Position Statement)

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337. Shortly after her termination, on or about October 30, 2000, Bray filed a
Charge of Discrimination with the Equal Employment Opportunity Commission, (Pl

LRS56.1(b) Ex. 1 Bray dep. p. 430; Ex. 17 Charge of Discrimination }

338. On or about March 21, 2001, the Equal Employment Opportunity
Commission issued a Determination in Bray’s favor. The Determination states, in part:

I have determined that the evidence obtained in the investigation
establishes reasonable cause to believe that Respondent violated Title VII
by subjecting Charging Party to sexual harassment by her Field Training
Officers. Furthermore, I have determined that the evidence obtained in the
investigation establishes reasonable cause to be believe that Respondent
violated Title VII in that it retaliated against Charging Party by
discharging her, (Pl LR56.1(b) Ex. 19 EEOC Determination)

339. Askew testified at his deposition that he first became aware that Bray was

accusing him of sexual harassment when he read a newspaper article published in the

Chicago Defender on December 4, 2000. (PI LR56.1(b) Ex. 2 Askew dep. p. 102)

340. However, he also admitted that he was never identified by name in the

newspaper article. (P! LR56.1(b) Ex. 2 Askew dep. p. 98)

341. The newspaper article refers to a “male field training officer”. (PI

LR56.1(b) Ex. 2 Askew dep. p. 99, 103)

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342. Askew was not the only male Field Training Officer assigned to Bray.
Scott Keith was also Bray’s Field Training Officer on May 25, 28, 30, 31 and June 1,
2000. (Pl LR56.1(b) Ex. 1 Bray dep. p. 564-565; Ex. 2 Askew dep. p. 47; Ex. 29 Daily

Observation Reports)

343. On December 8, 2000, the District Commander asked Askew to prepare a
statement in response to Bray’s sexual harassment allegations. (PI LR56.1(b) Ex. 2

Askew dep. p. 150)

344. Inhis statement, Askew states:

This statement is not being given voluntarily, but under duress.
Reporting Officer is only giving this statement at this time because
Reporting Officer knows Reporting Officer could be terminated from
employment if Reporting Officer refuses. This statement is being given at
the order of Police Agent Draper-Sibley.

This “To-From-Subject” Report should not be considered a
verbatim statement but only a summary regarding the requested
information.

R/O [Reporting Officer] was the Field Training Officer for P.P.O.
Pamela Bray during her second cycle. At no time did R/O observe any
sexual harassment of P.P.O. Pamela Bray. (PI LR56.1(b) Ex. 2 Askew
dep. p. 150; Ex, 27 Askew’s Statement)

345. No one ever discussed the matter with Askew. (P1 LR56.1(b) Ex. 2

Askew dep. p. 150, 152, 154-155)

346. Noone from Human Resources or Internal Affairs ever contacted Askew

regarding Bray’s sexual harassment allegations. (PI LR56.1(b) Ex. 2 Askew dep. p. 103-104)

BRAY’S PERFORMANCE

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347, During their training cycles, Probationary Police Officers’ performance is
rated on a scale of 1, being not acceptable, to 7, indicating superior performance, on

Daily Observation Reports. (P] LR56.1(b) Ex. 29-41 Daily Observation Reports)

348. Avscore of 4 is acceptable performance. (Pl LR56.1(b) Ex. 29-41 Daily

Observation Reports).

349. Renee Daniels was Bray’s Field Training Officer during her first cycle.

(PI LR56.1(b) Ex. 2 Askew dep. p. 17)

350. However, Bray worked with Daniels only two or three times. (PI
LR56.1(b) Ex. 29 Summary of Daily Observation Reports; Ex. 30 Daily Observation

Reports; Ex. 54 Training Cycle Summary)

351. On March 24, 2000, Bray worked with Field Training Officer Davis. (Pl

LRS456.1(b) Ex. 31 Daily Observation Report)

352. On the Daily Observation Report for March 24, 2000, Davis gave Bray
scores of 5’s and 6’s in all categories of performance he observed. (Pi LR56,1(b) Ex. 1 Bray

dep. p. 566; Ex. 31 Daily Observation Report)

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353. On April 9 and 10, 2000, Bray worked with Police Officer Hayne. (Pl
LR56.1(b) Ex. 1 Bray dep. p. 566; Ex. 29 Observation Report Summary; Ex. 32 Daily

Observation Reports)

354. On the Daily Observation Reports for April 9 and 10, 2000, Hayne gave
Bray scores of 5’s and 6’s in all categories of performance he observed. (PI LR56.1(b) Ex. 1
Bray dep. p. 566-567; Ex. 29 Daily Observation Report Summary; Ex. 32 Daily Observation

Report)

355, On April 5 and 13, 2000, Bray worked with Police Officer DuBose. (PI
LRS56.1(b)Ex. 1 Bray dep. p. 568; Ex. 33 Daily Observation Reports; Ex. 29 Daily

Observation Report Summary)

356. On the Daily Observation Reports for April 5 and 13, 2000, DuBose gave
Bray scores of 4’s, 5’s and 6’s in all categories of performance she observed. (Pl LR56.1(b)
Ex. 1 Bray dep. p. 568; Ex. 33 Daily Observation Report; Ex. 29 Daily Observation Report

Summary)

357. On April 26, 2000, Bray worked with Officer Morris. (P1 LR56.1(b) Ex. 1
Bray dep. p. 568; Ex. 34 Daily Observation Reports; Ex. 29 Daily Observation Report

Summary)
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358. On the Daily Observation Reports for April 26, 2000, Morris gave Bray
scores of 6’s and one 7 in all categories of performance he observed. (P]1 LR56.1(b) Ex. 1
Bray dep. p. 568-569; Ex. 33 Daily Observation Report; Ex. 29 Daily Observation Report
Summary). Officer Morris gave Bray a 7, Superior Performance, in the category of
“Community Interaction.” (Pl LR56.1(b) Ex. 34 Daily Observation Report; Ex. 29 Daily

Observation Report Summary)

359. Asummary of the scores Bray received on her Daily Observation Reports

during her first cycle are listed below:

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

3/24/00 | 3/31/00 | 4/1/00 | 4/2/00 | 4/5/00 | 4/9/00
Davis | Stewart | Stewart | Stewart | DuBose | Hayne
Vehicle Operation 3 2
Written Communication 5 4 2 5 5
Verbal Communication 5 2 2 3 6 5
Community Interaction 6 2 6 6
Patrol Procedures 5 3 2 4 5
Arrest Procedures 5
Traffic Enforcement 6 2 2 2 5
Physical Skills/ Force 3 5
Criminal Laws/Policy 2 2 2 5
Demeanor/ Attitude 6 3 3 3 6 7
4/10/00 | 4/13/00 | 4/14/00 | 4/15/00 | Average
Hayne | DuBose | Daniels | Daniels
Vehicle Operation 4 3
Written Communication 5 5 4 3 4
Verbal Communication 6 5 4 2 4
Community Interaction 5 5 4 5
Patrol Procedures 5 4 4 2 4
Arrest Procedures 5 4 5
Traffic Enforcement 5 5 4 4 4
Physical Skills/ Force 5 4
Criminal Laws/Policy 5 4 4
Demeanor/ Attitude 6 6 4 4 5
(Pi LR56.1(b) Ex. 29 Daily Observation Report Summary; Ex. 30-33 Daily Observation
Reports)

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360. Bray worked with Askew during her second cycle of training on April 29,
30, May 1, 2, 3, 4, 8, 9, 10, 11 and 12, 2000, (Pl LR456.1(b) Ex. 2 Askew dep. p. 25; Ex.

35 Daily Observation Reports, Ex. 29 Daily Observation Report Summary)

361, On the Daily Observation Reports for May 8 and 10, 2000, Askew gave
Bray scores of 4’s, Acceptable Performance, in all categories of performance he
observed. (PI LR56.1(b) Ex. 35 Daily Observation Reports; Ex. 29 Daily Observation

Report Summary)

362. On the Daily Observation Reports for May 4, 11, and 12, 2000, Askew
gave Bray scores of 4’s, Acceptable Performance, in all categories he observed, with the
exception of 3’s given in the category of “Criminal Laws/Policy”. (Pl LR56,1(b) Ex. 35

Datly Observation Reports; Ex. 29 Daily Observation Report Summary)

363. At the end of her second cycle, Askew passed Bray. (Pl LR56.1(b) Ex. 2

Askew dep. p. 30; Ex. 55 Training Cycle Summary)

364. However, Askew testified at his deposition that he did not honestly
prepare Bray’s Daily Observation Reports. (Pl LR56.1(b) Ex. 2 Askew dep. p. 89, 133)

He stated that he, in fact, “lied on these evaluations.” (Pl LR56.1(b) Ex. 2 Askew dep. p.

89, 133)

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365. At his deposition Askew claimed that Bray did not actually deserve the
rankings that he gave her on his Daily Observation Reports (PI LR56.1(b) Ex. 2 Askew

dep. p. 90-91)

366. Asummary of the scores Bray received on her Daily Observation Reports

during her second cycle are listed below:

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

4/26/00 | 4/29/00 | 4/30/00 | 5/1/00 | 5/2/00 | 5/4/00

Morris | Askew | Askew | Askew | Askew | Askew
Vehicle Operation
Written Communication 6 3 3 3 4 4
Verbal Communication 6 4 3 4 4 4
Community Interaction 7 3 4 4 3 4
Patrol Procedures 6 3 3 4 4 4
Arrest Procedures 6
Traffic Enforcement 6 3 3 4 3
Physical Skills/ Force 6 3 3 3 4
Criminal Laws/Policy 6 3 3 3 3 3
Demeanor/ Attitude 6 4 4 4 4

5/8/00 | 5/9/00 | 5/10/00 | 5/11/00 | 5/12/00

Askew | Askew | Askew | Askew | Askew | Average
Vehicle Operation 4 4 4
Written Communication 4 4 4 4 4 4
Verbal Communication 4 4 4 4 4
Community Interaction 4 4 4 4 4
Patrol Procedures 4 3 4 4 4 4
Arrest Procedures 4 3 4 4 4
Traffic Enforcement 4 4
Physical Skills/ Force 4 4
Criminal Laws/Policy 4 3 3 3
Demeanor/ Attitude 4 4 4. 4 4 4
(P! LR56.1(b) Ex, 29 Daily Observation Report Summary; Ex. 34-35 Daily Observation
Reports)

\ . .
367. On May 17, 18, 19, 20 and 21, 2000, Bray worked with Police Officer

Cleary, (PI LR56.1(b) Ex. 1 Bray dep. P. 569-570; Ex. 36 Daily Observation Reports;

Ex. 29 Daily Observation Report Summary)

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368. On the Daily Observation Reports for May 18, 19, 20 and 21, Cleary gave
Bray scores of 5’s and 7’s in all categories of performance he observed, with the
exception of a 3 given in the category of “traffic enforcement.” (Pl LR56,1(b) Ex. 1
Bray dep. p. 569-571; Ex. 36 Daily Observation Report; Ex. 29 Daily Observation

Report Summary)

369. Ofthe Daily Observation Reports prepared by Cleary for Bray, only the
one dated May 21, 2000 indicates that Cleary observed Bray in the performance of
“arrest procedures,” (P1 LR56.1(b) Ex. 29 Daily Observation Report Summary; Ex. 36

Daily Observation Reports)

370. On the Daily Observation Report for May 21, 2000, Clearly gave Bray the
score of 5 in the category of “arrest procedures”. (PI LR56.1(b) Ex. 29 Daily

Observation Report Summary; Ex. 36 Daily Observation Report)

371. For each of the four days observed, Cleary gave Bray a 7, Superior
Performance, in the category of “Demeanor/Attitude”. (P1 LR56.1(b) Ex. 1 Bray dep. p.

569-571; Ex. 36 Daily Observation Report; Ex. 29 Daily Observation Report Summary)

372. On May 23, 2000, Bray worked with Police Officer Davis. (PI LR56.1(b)

Ex. 31 Daily Observation Report )

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373. On the Daily Observation Report for May 23, 2000, Davis gave Bray
scores of 5’s and 6’s in all categories of performance he reviewed. (Pi LR56.1(b) Ex. 31

Daily Performance Report; Ex, 29 Daily Observation Report Summary)

374. During her third training cycle, Bray worked with Field Training Officer
Kevin Scott on May 25, 28, 30, 31 and June 1, 2000, (PI LR56.1(6) Ex. 1 Bray dep. p.
564-565; Ex. 2 Askew dep. p. 47; Ex. 37 Daily Observation Reports; Ex. 29 Daily

Observation Report Summary}

375, Inthe Daily Observation Reports that Officer Scott prepared for Bray, he
gave her scores of 4, 5 and 6 for her performance in the various categories. (Pl
LR56. 1(b) Ex. 37 Daily Observation Reports; Ex. 29 Daily Observation Report

Summary)

376. Officer Scott was promoted and Officer Donna Adams was then assigned

to be Bray’s Field Training Officer. (P1 LR56.1(b) Ex. 2 Askew dep. p. 52)
377. During her third cycle, Adams worked with Bray on June 11, 2000. (Pl

LR56.1(b) Ex. 1 Bray dep. p. 295-296; Ex. 38 Daily Observation Reports; Ex. 29 Daily

Observation Report Summary)

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378. The only Daily Observation Report Adams prepared for Bray during her

third cycle is for June 11, 2000. On that Report, Adams gave Bray the following scores:

 

 

 

 

 

 

 

 

Category Score
Demeanor/Attitude : 6
Community Interaction 5
Patrol Procedures 5
Traffic Enforcement 5
Physical Skills/Force ‘5
Verbal Communication 4
Vehicle Operation 3

 

 

 

 

Pl LR56,1(b) Ex. 38 Daily Observation Report; Ex. 29 Daily Observation Report

Summary)

379. On June 16, 2000, Bray worked with Officer Cantrell. (P1 LR56.1(b) Ex.
1 Bray dep. p. 571-572; Ex. 39 Daily Observation Reports; Ex, 29 Daily Observation

Report Summary)

380. On the Daily Observation Reports for June 16, 2000, Cantrell gave Bray
scores of 5’s and 6’s in all categories of performance she observed. (PI LR56.1(b) Ex. 1
Bray dep. p. 571-572; Ex. 39 Daily Observation Report; Ex. 29 Daily Observation Report

Summary).

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381. Asummary of the scores Bray received on her Daily Observation Reports

during her third cycle are listed below:

 

 

 

 

 

 

 

 

 

 

 

5/17/00 | 5/18/00 | 5/19/00 | 5/20/00 | 5/21/00 | 5/23/00
Cleary | Cleary | Cleary | Cleary | Cleary | Davis
Vehicle Operation 5 5
Written Communication 5 5 6
Verbal Communication 5 5 5 5 5 5
Community Interaction 5 5 5 5 5
Patrol Procedures 5 5 5 5 5 5
Arrest Procedures 5 6
Traffic Enforcement 3 3 3 3 3 5
Physical! Skills/ Force 5 5 5 5 5
Criminal Laws/Policy 5 5 5 5 5 5
Demeanor/ Attitude 7 7 7 7 7 6

 

 

 

 

5/25/00 | 5/28/00 | 5/30/00 | 5/31/00 | 6/1/00 | 6/11/00

Scott Scott Scott Scott | Scott | Adams
Vehicle Operation 4 4 5 3
Written Communication

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

4 4 4 4 4

Verbal Communication 4 5 5 6 5 4
Community Interaction 5 6 6 6 6 5
Patrol Procedures 5 6 5 6 5 5
Arrest Procedures

Traffic Enforcement 5 5
Physical Skills/ Force 4 5
Criminal Laws/Policy 4 4 4 6

Demeanor/ Attitude 6 4 4 4 5 6

6/16/00 | 6/17/00 | 6/23/00

Cantrell | Pietrowski | Ball Average |

Vehicle Operation 4 4

Written Communication 5 3 6 5

Verbal Communication 5 3 6 5

Community Interaction 6 4 6 5

Patrol Procedures 5» 3 6 6

Arrest Procedures 6

Traffic Enforcement 4 7 4

Physical Skills/ Force 6 5

Criminal Laws/Policy 5 4 7 5

Demeanor/ Attitude 6 4 7 6

 

 

 

 

 

 

 

(P! LR56. 1(b) Ex. 29 Daily Observation Report Summary; Ex. 36-40 Daily Observation

Reports)

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382. When her third cycle was completed, on or about June 18, 2000, Bray
requested a fourth cycle of training because of everything she endured during her training
with Askew and Adams she felt she needed to learn more. (PI LR56.1(b) Ex. 1 Bray dep.

p. 263, 311-312, 316-320)

383, In fact, in requesting that Bray be given a fourth training cycle, Adams
stated that one of the reasons for the request was because Bray had worked with “officers
who had just a little over a year on the job” who did not allow Bray to “assume any
responsibility, and due to their lack of experience were unable to provide adequate

training.” (PI LR56.1(b) Ex. 3 Adams dep. p. 37-38)

384. Adams went on to explain that “the first cycle is the most important. It
builds the foundation and confidence” and an officer who does not receive adequate
training during the first cycle will suffer during their second and third cycles. (PI

LR56,1(b) Ex. 3 Adams dep. p. 38)

385. Adams also explained at her deposition that what probationary police
officers are taught at the academy does not work in the real world. (PE LR56.1(b) Ex. 3

Adams dep. p. 46-48)

386. Therefore, despite the above-acceptable scores given by Field Training
Officer Kevin Scott, Officer Cantrell, and even herself during Bray’s third cycle, Adams

did not Field Qualify Bray in her Final Summary Report dated June 18, 2000, so that

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Bray could obtain a fourth cycle of training. (PI LR56.1(b) Ex. 37-39 Daily Observation

Reports; Ex. 56 Training Cycle Summary; Ex. 29 Daily Observation Report Summary)

387. On June 24, 2000, Bray worked with Officer Maravia Ball. (PI LR56.1(b)

Ex. 1 Bray dep. p. 572; Ex. 40 Daily Observation Reports)

388. On the Daily Observation Report for June 24, 2000, Ball gave Bray scores
of 6’s and 7’s and one 4 in all categories of performance she observed. (Pt LR56.1(b) Ex.
1 Bray dep. p. 572-573, Ex. 40 Daily Observation Report; Ex. 29 Daily Observation

Report Summary).

389. Officer Ball gave Bray 7’s, Superior Performance, in the categories of
“Traffic Enforcement”, “Criminal Laws/Policy” and “Demeanor/Attitude”. (PI

LRS56.1(b) Ex. 40 Daily Observation Report; Ex. 29 Daily Observation Report Summary)

390. During her fourth cycle, Adams worked with Bray on June 27, 28, 29, July
5, 8, 11, 13, 14, 15, 16, and 17. (Pl LR56.1(b) Ex. 41 Daily Observation Reports; Ex. 29

Daily Observation Report Summary)

391, Onthe Daily Observation Reports for June 27, July 5, 11, 13, 14, 15, 16
and 17, Adams gave Bray scores of 4's, 5’s and 6’s in all categories of performance she

observed. (Pl LR56.1(b) Ex. 41 Daily Observation Reports; Ex. 29 Daily Observation

Report Summary)

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392. Asummary of the scores Bray received on her Daily Observation Reports

during her fourth cycle are listed below:

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

6/27/00 | 6/28/00 | 6/29/00 | 7/5/00 | 7/8/00 | 7/11/00

Adams ; Adams | Adams | Adams | Adams | Adams
Vehicle Operation 4 3 3 4
Written Communication 4 4 4
Verbal Communication 5 4 3 5 5 5
Community Interaction 4 6 5 5
Patrol Procedures 5 3 4 5 3 4
Arrest Procedures
Traffic Enforcement 5 3 5 5
Physical Skills/ Force 5
Criminal Laws/Policy 5 3 3 5 4
Demeanor/ Attitude 6 5 5 6 5 5

7/13/00 | 7/14/00 | 7/15/00 | 7/16/00 | 7/17/00

Adams | Adams | Adams | Adams |} Adams | Average
Vehicle Operation 4
Written Communication 4 4 4 4 4
Verbal Communication 5 4 4 4 4 4
Community Interaction 5 4 4 4 5
Patrol Procedures 5 4 4 4 4
Arrest Procedures 4 4
Traffic Enforcement 5 4 5
Physical Skills/ Force 4 5
Criminal Laws/Policy 5 4 4 4 4 4
Demeanor/ Attitude 5 5 5 6 6 5

 

 

 

 

 

 

 

 

 

(PI LR56.1(b) Ex. 29 Daily Observation Report Summary; Ex. 41Daily Observation

Reports)

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393. Adams passed Bray at the end of her fourth cycle and Field Qualified her
on or about July 24, 2000. (PI LR56.1(b) Ex. 1 Bray dep. p. 340, 563; Ex. 2 Askew dep.
p. 54, 56; Ex. 3 Adams dep. p. 55; Ex. 42 Remedial Summary Report; Ex. 14 Def’s

Answers to Ints p. 15)

394. However, Askew claimed at his deposition that Adams passed Bray after

her fourth cycle only at his insistence. (P1 LRS6.1(b) Ex. 2 Askew dep. p. 53, 56-57)

395. The average scores based on the Daily Observation Reports for each of

Bray’s cycles is listed below:

 

 

 

 

 

 

 

 

 

 

 

 

CYCLE | CYCLE | CYCLE | CYCLE

ONE | TWO | THREE | FOUR
Vehicle Operation 3 4 4 4
Written Communication 4 4 5 4
Verbal Communication 4 4 5 4
Community Interaction 5 4 5 5
Patrol Procedures 4 4 6 4
Arrest Procedures 5 4 6 4
Traffic Enforcement 4 4 4 5
Physical Skills/ Force 4 4 5 5
Criminal Laws/Policy 4 3 5 4
Demeanor/ Attitude 5. 4 6 5
AVERAGE 4 4 5 4

 

 

 

 

 

 

 

(PI LRS6.1(b) Ex. 29 Daily Observation Report Summary; Ex. 30-41 Daily Observation

Reports)

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396. Bray never received any complaints from the police officers she worked
with who were not Field Training Officers, (PI! LR56.1(b) Ex. 1 Bray dep. p. 265, 390,

399)

397. During her training, Bray received an honorable mention for her work in
apprehending two criminals who were burglarizing a church. (P! LR56.1(b) Ex. 1 Bray
dep. p. 551-552) Bray was the only probationary police officer to receive such an

honorable mention. (PI LR56.1(b) Ex. 1 Bray dep. p. 303, 551)

OTHER OFFICERS SIMILARLY SITUATED
398. Benny Spurgeon graduated from the Police Academy at the same time as

Bray. (P! LR56.1(b) Ex. 1 Bray dep. p. 546; Ex. 5 Spurgeon dep. p. 8)

399. Spurgeon testified at his deposition that he also had Askew as a Field
Training Officer and that Askew made the same negative comments about him that he did
about Bray when he was PPO, including a comment that Spurgeon did not like to cuff

people. (PI LR56.1(b) Ex. 5 Spurgeon dep. p. 10, 27)

400. At his deposition, Spurgeon described an incident wherein Askew became
“pissed” at him because he hesitated in cuffing an individual involved in an aggravated

battery. (P1 LR56,1(b) Ex. 5 Spurgeon dep. p. 12, 27)

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401. In fact, Spurgeon relayed an incident about a domestic situation wherein a
young woman hit a man with a bottle, which was virtually identical to an incident Askew
criticized Bray about at his deposition. (P! LR56.1(b) Ex. 2 Askew dep. p. 37-38; Ex. 5

Spurgeon dep. p. 27-28)

402. During his probationary period, Askew criticized Spurgeon’s confidence
and assertiveness and complained that he was too soft-spoken. (Pl LR56.1(b) Ex. 5

Spurgeon dep. p. 12, 28, 29)

403. Spurgeon admitted that he was reprimanded on one occasion when he was
working lock-up for not effectively searching a criminal who subsequently tried to hang
himself with a bandana and a shoestring. (PI LR56.1(b) Ex. 1 Bray dep. p. 546; Ex. 5

Spurgeon dep. p. 31-32)

404, This incident occurred in July or August 2000, during Spurgeon’s
probationary period. (PI LR56.1(b) Ex. 1 Bray dep. p. 546; Ex. 5 Spurgeon dep. p. 33,
36) Spurgeon did not get a hearing until March 2002, over a year and one half later. (Pl

LRS6.1(b) Ex. 5 Spurgeon dep. p. 33-36)

405. Spurgeon stated at his deposition that it was typical of the department to
take a year to reprimand (or commend) someone. (PI LR56.1(b) Ex. 5 Spurgeon dep. p.

36)

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406. Atone point things got so bad between Askew and Spurgeon, Askew did
not want to work with Spurgeon. (Pl LR56.1(b) Ex. 5 Spurgeon dep. p. 26, 37) In fact,
Spurgeon admitted at his deposition that “a lot of guys don’t want to work with me.” (Pl

LR56.1(b) Ex. 5 Spurgeon dep. p. 37)

407. Spurgeon testified that one female officer told him she did not want to

work with him because she did not feel he was safe. (P! LR56.1(b) Ex. 5 Spurgeon dep.

p. 37)

408. Spurgeon also admitted that another female officer threatened to report
him to the commander because she did not feel he was doing his job and was not being

assertive. (PI LR56.1(b) Ex. 5 Spurgeon dep. p. 60)

409. Askew told Bray that he wanted to terminate Spurgeon. (P! LR56.1(b) Ex.

1 Bray dep. p. 547)

410. Despite the similarities between Bray and Spurgeon, Spurgeon was not

terminated. (P! LR56.1(b) Ex. 1 Bray dep. p. 546; Ex. 5 Spurgeon dep. p. 7)

411. Cedric Taylor was initially failed by his Field Training Officer but given

another chance and allowed to become a police officer. (P1 LR56,1(b) Ex. 2 Askew dep.

p. 30)

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412. At his deposition, Askew described Taylor as “one of the best Officers in

this City.” (PI LR56,1(b) Ex. 2 Askew dep. p. 30)

413. At her deposition, Adams stated that she felt Officer Jones was an
incompetent police officer and described an incident wherein Jones failed to assist her
after she was hit and knocked down by an offender. (Pi LR56.1(b) Ex. 3 Adams dep. p.

122-123)

414. Adams did not report Jones to any of her superiors when she failed to

assist her. (PI LR56.1(b) Ex. 3 Adams dep. p. 123)

415. Jones was never investigated nor reprimanded for failing to assist Adams.

(Pl LR56.1(b) Ex. 3 Adams dep. p. 123-124)

416, Jones stated at her deposition that there are several Chicago Police

Officers who are smaller than Bray. (P1 LR56.1(b) Ex. 4 Jones dep. 40)

417. In Jones’ opinion, Bray was assertive and professional. (P] LR56.1(b) Ex.

4 Jones dep. p. 40)

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